                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA

DONNA LOU and DAREN PARSA,                            )
on their own behalf and on behalf                     )
of their deceased minor child, E.P.                  )
                                                      )
               Plaintiffs,                           )
                                                     )
       v.                                            )
                                                     )
SHERIFF JOSEPH P. LOPINTO, III,                      )
CHAD PITFIELD, RYAN VAUGHT,                          )
STEVEN MEHRTENS, SHANNON GUIDRY,                     )
NICK VEGA, MANUEL ESTRADA, MYRON GAUDET,             )
JOHN DOES 1-3, VICTORY REAL ESTATE                   )
INVESTMENTS LA, LLC and WESTGATE INVESTORS           )
NO LLC D/B/A WESTGATE SHOPPING CENTER,               )
ABC INSURANCE COMPANY, and XYZ INSURANCE             )
COMPANY,                                             )
                                                     )
               Defendants.                           )

                              EXPERT REPORT OF JEFFREY J. NOBLE

1.     My name is Jeffrey J. Noble, and I make this report at the request of plaintiff's counsel.

2.     I was a police officer in the City of Irvine for 28 years rising to the position of Deputy
       Chief of Police prior to my retirement. I served as an interim Deputy Chief of Police at
       the Westminster Police Department for nine months.

       a.      I was a police officer for 28 years and retired in July 2012 as the Deputy Chief of
               Police with the Irvine Police Department, located in southern California. As a
               Deputy Chief, I was directly responsible for all police operations including Patrol,
               Traffic, Criminal Investigations, Emergency Management, Crime Prevention,
               DARE, K9s, Training, and SWAT. The City of Irvine encompasses over 70 square
               miles with a population of over 218,000. I served in a wide range of assignments
               as an Officer, Senior Officer, Sergeant, Lieutenant, Commander and Deputy
               Chief, including Patrol, Traffic, Detective, SWAT, Training, Internal Affairs,
               Emergency Management and Crime Prevention. The Irvine Police Department
               had over 200 police officers and over 100 civilian employees during my
               employment with the department.




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     b.     In April 2014,1 was hired by the Westminster, California Police Department as an
            interim Deputy Chief of Police. My employment with the Westminster Police
            Department was by means of a temporary contract, and I was asked to review
            the department's Internal Affairs unit; department policies relating to Internal
            Affairs investigations, discipline and police officer conduct; conduct department
            audits and inspections; and act as a liaison with a civilian oversight monitor who
            was hired during the same period. My employment was at the request of the
            Chief of Police, was ratified by the City Council and was sought due to the arrest
            of a police officer for an off-duty criminal sexual assault, the arrest of an on-duty
            officer for extortion and a lawsuit filed by three Latino officers alleging
            discrimination and retaliation. I concluded this interim position in January 2015.
            The Westminster Police Department had 87 police officers and 40 civilian
            employees during my temporary contracted employment.

     c.     As a police supervisor and manager, I have extensive experience conducting
            internal administrative investigations on a wide range of issues including use of
            force, vehicle pursuits, officer misconduct, criminal interrogations and
            interviews, harassment and sexual assaults.

4.   I have a Juris Doctor degree, with honors, from Western State University College of Law
     and I am admitted to practice law in the State of California. I have a Bachelor's degree
     in Criminal Justice with an emphasis on Administration from California State University
     at Long Beach.

5.   As a police consultant and expert witness, I have extensive experience on matters
     involving police investigative procedures, misconduct and corruption. For example:

     a.     In 2014,1 was part of a Carnegie Institute of Peace Think Tank for addressing
            police use of force in developing countries.

     b.     I have consulted with other police organizations on a wide range of police
            practices, procedures, including criminal and administrative investigations. For
            instance, I was retained in 2004 as an expert to review and evaluate the internal
            investigation conducted by the San Francisco, California, Office of Community
            Complaints of the case widely known as "Fajitagate" involving the indictment of
            seven command staff members and three officers of the San Francisco Police
            Department. In 2007 and again in 2009,1 was retained by the City of Austin,
            Texas to review the police department's internal homicide and Internal Affairs
            investigation of two officer involved fatal shootings.

     c.     I have been retained as both a defense and a plaintiff's expert in over 300 cases
            and have testified as an expert in state court in California, Washington,
            Tennessee, Connecticut, Minnesota, Illinois and New Mexico and in federal court


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     in Illinois, Tennessee, Georgia, South Carolina, North Carolina, Virginia, Texas and
     California.

d.   I have prepared expert reports for cases in the states of California, Washington,
     Pennsylvania, Georgia, Illinois, Tennessee, Idaho, Arkansas, Texas, Colorado,
     New York, Oklahoma, Connecticut, Florida, New Mexico, Minnesota, Ohio,
     Kentucky, Louisiana, Indiana, Wisconsin, Virginia, Delaware, Oregon, Arizona,
     New Mexico, New Jersey, Mississippi, North Carolina, South Carolina, Wyoming,
     Kansas and Missouri.

e.   I have been retained in criminal cases involving allegations of criminal uses of
     force by police officers in the states of New Mexico, Delaware, Minnesota,
     Pennsylvania, California, Georgia, Washington, and Florida.

f.   I served as an independent policy advisor to the Large City Internal Affairs
     Project, which was funded by the United States Department of Justice. This
     group consists of the 12 largest police agencies in the United States as well as a
     select group of independent policy advisors and academics. The project was an
     effort to develop national best practices in internal investigations for police
     agencies. I was the chair of a sub-committee whose efforts were focused on the
     investigation of allegations of officer misconduct. Because of this project the
     COPS Office published a document entitled, "Standards and Guidelines for
     Internal Affairs: Recommendations from a Community of Practice."

g.   I have given presentations at the International Association of Chiefs of Police
     conference in 2004, 2009, 2012, and 2014; the national COPS conference on
     Internal Affairs issues and the Academy of Criminal Justices Sciences annual
     meeting on tactical reckless decision making in 2009; the American Psychological
     Association annual conference in 2013; and National Tactical Officers'
     Association annual conference in 2004.

h.   In 2013,1 gave a presentation in Mexico at the request of the Mexican
     government on preventing corruption in police institutions.

i.   I have published 21 articles on policing which discussed the subject matters of:
     Internal Affairs, personnel issues, pursuits, use of force issues and investigative
     procedures. Those articles are listed in my attached resume.

j.   I have published two chapters for policing textbooks on tactical recklessness and
     the code of silence.

k.   I have co-authored, along with Geoffrey Alpert, Ph.D., a textbook on police
     Internal Affairs investigations titled, "Managing Accountability Systems for Police
     Conduct: Internal Affairs and External Oversight."

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     l.     As evidence that the opinions in our book are accepted by other experts of
            police administrative investigations, my book was cited extensively in the COPS
            2009 publication, "Building Trust Between the Police and the Citizens They
            Serve: An Internal Affairs Promising Practice Guide for Local Law Enforcement."

     m.     In 2020,1 co-authored a textbook, "Evaluating Police Uses of Force," with Seth
            Stoughton and Geoffrey Alpert.

6.   My experience, training and background are more fully described in my attached
     resume.

7.   My areas of expertise in policing include, but are not limited to: police use of force;
     pursuits; police administration; training; police operations; criminal investigations;
     interviews and interrogations; civil rights violations and investigations;
     internal/administrative investigations; criminal investigations; police discipline; citizen
     complaints; and police policies and procedures.

8.   I reviewed the following material in making my opinions:

     •      Complaint
     •      Manuel Estrada's Responses to Plaintiffs' First Set of Interrogatories and
            Requests for Production of Documents and documents attached
     •      Manuel Estrada's Supplemental Responses to Plaintiffs' First Set of
            Interrogatories and Requests for Production of Documents and documents
            attached
     •      Manuel Estrada's transcribed Statement January 23, 2020
     •      Manuel Estrada's Training File
     •      Myron Gaudet's Responses to Plaintiffs' First Set of Interrogatories and Requests
            for Production of Documents and documents attached
     •      Myron Gaudet's Supplemental Responses to Plaintiffs' First Set of Interrogatories
            and Requests for Production of Documents and documents attached
     •      Myron Gaudet's transcribed Statement January 23, 2020
     •      Myron Gaudet's Training File
     •      Shannon Guidry's Responses to Plaintiffs' First Set of Interrogatories and
            Requests for Production of Documents and documents attached
     •      Shannon Guidry's Supplemental Responses to Plaintiffs' First Set of
            Interrogatories and Requests for Production of Documents and documents
            attached
     •      Shannon Guidry's transcribed Statement January 23, 2020
     •      Shannon Guidry's Training File
     •      Steven Mehrten's Responses to Plaintiffs' First Set of Interrogatories and
            Requests for Production of Documents and documents attached


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Steven Mehrten's Supplemental Responses to Plaintiffs' First Set of
Interrogatories and Requests for Production of Documents and documents
attached
Steven Mehrten's transcribed Statement January 23, 2020
Steven Mehrten's Training File
Chad Pitfield's Responses to Plaintiffs' First Set of Interrogatories and Requests
for Production of Documents and documents attached
Chad Pitfield's Supplemental Responses to Plaintiffs' First Set of Interrogatories
and Requests for Production of Documents and documents attached
Chad Pitfield's transcribed Statement January 23, 2020
Chad Pitfield's Training File
Chad Pitfield Injury Report
Ryan Vaught's Responses to Plaintiffs' First Set of Interrogatories and Requests
for Production of Documents and documents attached
Ryan Vaught's Supplemental Responses to Plaintiffs' First Set of Interrogatories
and Requests for Production of Documents and documents attached
Ryan Vaught's transcribed Statement January 23, 2020
Ryan Vaught's Training File
Nicholas Vega's Responses to Plaintiffs' First Set of Interrogatories and Requests
for Production of Documents and documents attached
Nicholas Vega's Supplemental Responses to Plaintiffs' First Set of Interrogatories
and Requests for Production of Documents and documents attached
Nicholas Vega's transcribed Statement January 23, 2020
Nicholas Vega's Training File
Responses to Plaintiffs' First Set of Interrogatories and Requests for Production
of Documents of Joseph Lopinto, Individually and in his Official Capacity and all
documents produced therein including Incident Report, Sgt. Dowling Homicide
Report and attachments including witness/officer statements, JPSO policies,
training documents, photographs, video tapes, IA files, etc.
Plaintiffs' Responses to JPSO Defendants' First Set of Written Discovery to
Plaintiffs and documents produced
Plaintiffs' Responses to Defendants Victory Real Estate Investments LA, LLC &
Westgate Investors No., LLC's First Set of Written Discovery to Plaintiffs and
documents produced
Plaintiffs' Rule 26(A) Disclosures
Plaintiffs' First Set of Interrogatories and Request for production of Documents
to the Individual Jefferson Parish Sheriff's Office Defendants and responses
thereto
Plaintiffs' First Set of Interrogatories and Requests for Production of Documents
to Sheriff Joseph P. Lopinto and responses and attachments thereto
Plaintiffs' First Set of Interrogatories and Request for Production of Documents
and Requests for Admission to Defendants Victory Real Estate Investments LA,


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            LLC and Westgate Investors No LLC D/B/A Westgate Shopping Center and
            responses thereto
     •      Defendants Victory Real Estate Investments LA, LLC and Westgate Investors No,
            LLC Initial Disclosures Pursuant to Rule 26 of the Federal Rules of Civil Procedure
     •      Defendants Victory Real Estate Investments LA, LLC and Westgate Investors No,
            LLC D/B/A Westgate Shopping Center's Supplemental Responses to Plaintiff's
            First Set of Written Discovery and documents attached thereto
     •      Defendants Victory Real Estate Investments LA, LLC and Westgate Investors No,
            LLC First Set of Written Discovery to Plaintiffs and Plaintiffs' responses and
            documents produced
     •      Depositions and Exhibits:
            o      Craig Pond
            o      Michael Pizzolato
            o      Michael Voltolina
            o      Donald Meunier
            o      Joshua Wingrove
            o      Donald Canatelia
            o      Gina Christopher
            o      Keith Dowling
            o      Manuel Estrada
            o      Shannon Guidry
            o      Timothy Genevay
            o      Myron Gaudet
            o      Dana Troxdair
            o      Steven Mehrtens
            o      Chad Pitfield
            o      Nicolas Vega
            o      Robert Blackwell
            o      Joseph Deist
            o      Jeanetta Euper
            o      Mallory Smith
            o      Ryan Vaught
            o      Daren Parsa
            o      Donna Lou
            o      Sheriff Joseph Lopinto
     •      IACP Training Key #678 - Autism: Managing Police Field Contacts
     •      Articles and Documents referenced in this report
     •      All deposition exhibits

9.   At this point in the development of this case, I do not know whether I will be using any
     demonstrative aids during my testimony. Should I decide to use any such aid, I will
     ensure that they are made available for review, if requested, prior to their use.



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10.   My professional charges for this litigation work is an hourly fee of $400 plus expenses
      including all travel time. My fees for deposition and trial testimony are a flat rate of
      $2,500 for the first four hours and $600 per hour for every additional hour, plus travel
      time and expenses.

11.   If I am provided additional materials that changes, alters or amends my opinions, I will
      prepare a supplemental report.

12.   To ensure my methodology was reliable, my opinions are based on a comprehensive
      review of the provided materials that establishes my understanding of the facts of the
      case and on the professional and generally accepted principles and practices in policing
      as of the date of this incident. "Generally accepted practices" refers to those protocols,
      techniques, and procedures that are widely known, acknowledged, and relied upon in
      the field. A practice is generally accepted when well-educated, well-trained, and
      experienced professionals would agree that it is conventional, customary, and
      reasonably standard. Generally accepted practices in policing reflect technical and
      specialized knowledge in the law enforcement field. A practice can be generally
      accepted without necessarily being universally adopted or rising to the level of a long-
      established, empirically validated best practice. Generally accepted practices may be,
      but are not necessarily, reflected in Department of Justice consent decrees, publications
      by professional associations (such as the International Association of Chiefs of Police,
      the Police Executive Research Forum, the National Police Foundation, etc.), in agency
      policies, and in reputable training materials.

13.   To identify and apply the applicable generally accepted practices in policing, I rely on my
      knowledge, skill, experience, training, and education in law enforcement. This includes
      work in my field of study as a policing scholar and author; my knowledge of historical
      and contemporary law enforcement standards and methods; and the relevant
      professional and academic literature. I employ a similar methodology when I conduct
      professional evaluations of police officers or agencies as a consultant and when writing
      for reputable academic and professional publishers. The methodology I applied in this
      case is consistent with the methodology utilized by other experts in the field of law
      enforcement when analyzing incidents of this type.

14.   My use of terminology such as "excessive," "unreasonable," and "disproportionate,"
      etc., is intended to and should be read as references to the professional and generally
      accepted standards in policing and is not intended and should not be interpreted as
      references to or the application of legal standards within the sole province of the
      factfinder or judge.

15.   The opinions that follow are made within a reasonable degree of certainty within the
      field of police practices based on over 35 years of professional law enforcement
      experience and scholarship.


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                                     Summary of Incident

16.   On January 19, 2020, EP accompanied his parents, Donna Lou and Daren Parsa, to the
      Laser Tag located in the Westgate Shopping Center in Metairie, Louisiana. EP was 16
      years old and had Severe Autistic Spectrum Disorder (ASD). While at the Laser Tag, EP
      and his father played games and when they got ready to leave, the family walked to the
      parking lot, headed to their vehicle.

17.   While they were in the parking lot, EP began to experience a sudden sensory outburst or
      "meltdown" caused by his severe autism. EP, who was non-verbal, began slapping at
      himself and his father and grabbing his father as part of his meltdown. The physical
      encounter lasted about 5 minutes and during the incident EP bit his father, who was
      bleeding from his chin.

18.   The manager at the Laser Tag, who was familiar with the family due to their frequent
      visits, asked Ms. Lou whether she wanted her to call the police for assistance and Ms.
      Lou said she did. The Laser Tag manager called Deputy Pitfield, a Jefferson Parish
      Sheriff's Office (JPSO) deputy who was working a security detail at the shopping center
      and told him that a child has autism and was in a struggle with his father in front of the
      Laser Tag.

19.   Deputies who work the off-duty assignment at the shopping center are provided a cell
      phone so they can be contacted directly by the businesses. Deputies who work private
      detail are employed by the private employer to perform security on their premises
      during their scheduled hours. Although it is an off-duty overtime assignment, the
      deputies wear their sheriff's department uniform, use their sheriff's department
      equipment, and are required to follow sheriff's department policies, practices, rules and
      regulations.

20.   When Deputy Pitfield arrived, the physical encounter between EP and his father had
      ended and EP was standing by the open back door of the Parsa's vehicle. Deputy Pitfield
      left his police lights activated after he exited his vehicle.

21.   Deputy Pitfield spoke with Mr. Parsa who told him EP had autism.

22.   Six seconds after Deputy Pitfield exited his vehicle, EP left the family car and began
      flailing his arms and slapping himself. After slapping himself on the head, EP began
      slapping at his father and then at Deputy Pitfield. Deputy Pitfield took EP to a prone
      position on the ground. While on the ground, Deputy Pitfield said EP bit his leg and
      Deputy Pitfield responded with a single strike towards EP's head. Deputy Pitfield
      radioed other deputies to assist in restraining EP.

23.   Deputy Pitfield said he realized he needed a second pair of handcuffs due to EP's size, so
      he retrieved a second pair from his vehicle and then sat on EP's back for approximately

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        7 minutes between 1:29:15 pm and 1:36:02 pm. Deputy Pitfield had RIPP Hobble
        training but was never assigned a RIPP Hobble.1

24.     Ms. Lou sat next to EP and stroked his hand telling him he would be okay and she placed
        some clothing under his head as he has been known to bang his head during an
        outburst. According to Deputy Pitfield, Ms. Lou's intervention was calming EP down.

25.     At 1:34:20 pm, Detective Vaught arrived in response to Deputy Pitfield's radio call.
        Detective Vaught understood that EP was having a "mental episode" and was "special
        needs." Detective Vaught assisted Deputy Pitfield in handcuffing EP's hands behind his
        back. During his statement about these events to homicide detective, Vaught described
        the moment he arrived as follows: "Q: You're meeting resistance? A: No, no, no, not—
        not—not really, no      Q: Okay. A: Um, he was, he was um, moving a little bit but he
        wasn't trying to resist or pull his—pull his arm away."2 And "Q; Okay and again, no
        measurable resistance at the point where you secure his left hand and are able to—to
        cuff him, cuff him to the cuffs that Deputy Pitfield has?" A: No, um, there—there was no
        active resistance from him. I was able to—to handcuff him and get them behind his
        back."3 Detective Vaught did not have a RIPP Hobble on the date of this event and does
        not know whether he received a RIPP Hobble after receiving the RIPP Hobble training.4

26.     Although both Deputy Pitfield and Detective Vaught knew that EP was autistic, had just
        been involved in physical exertion, was obviously very obese, was not offering any
        resistance and was prone on the ground with his hands handcuffed behind his back,
        Deputy Pitfield who weighed approximately 300 pounds remained sitting on EP's back
        and the deputies failed to place EP in a recovery position by simply turning him on his
        side or sitting him up. Both Deputy Pitfield and Vaught knew EP had been in a struggle,
        and they each knew that he was autistic, obese and special needs, and they knew the
        dangers of excited delirium and positional asphyxia.

27.     Deputy Mehrtens arrived at 1:34:20 pm and although he knew EP had been in a
        struggle, that he was autistic, obese and special needs, and he knew the dangers of
        excited delirium and positional asphyxia he made no effort to intervene and place EP in
        a recovery position. Mehrtens described the situation when he arrived to JPSO
        homicide detectives as follows: "Uh, at the time I physically observed him, he was face
        down on the ground, he had two (2) sets of handcuffs and his hands were handcuffed
        behind his back with Deputy Pitfield sitting on his buttocks area. Um." 5 He further
        stated, "At the time I arrived there wasn't, there wasn't a struggled (sic), it didn't appear
        to be a struggle..."6 Finally, he notes, "So, once he's handcuffed, what occurs? A: Once

1 Pitfield at 56.
2 Vaught Statement at 4-5.
3 Vaught Statement at 12.
4 Vaught deposition at 92.
5 Mehrtens Statement at 3.
6 Mehrtens Statement at 3, 4

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        he's handcuffed, myself, personally, I didn't see a struggle so there was no need for me
        to engage him, you know, or the, what was transpiring with the struggle portion at the
        point, so I immediately start looking at dad...."7 Detective Mehrtens describes in his
        statement that he and Detective Vaught both talk with E.P.'s father "for a minute."
        After describing that conversation, he noted the following: "Q: So where is Deputy
        Pitfield right now? A: He's still with, with uh, the subject on the ground. Q: Non
        struggle? A: No struggle." 8 Finally, Deputy Mehrtens noted: "Oh yeah, from uh, from
        the point that I, that I arrived is when people were, I think it was the mother and the
        father, you know, he's special needs, he's got autism. Um, and that's also another
        reason why, you know, Deputy Pitfield has got him under control, we train on this a lot,
        so we, we know that if he's autistic there's there are things, excited delirium, there's all,
        there's all kinds of stuff that can take place with somebody with any kind of mental
        illness or disability, so to engage him at that point just wasn't necessary, he was calm,
        everything was fine."9 Deputy Mehrtens received a RIPP Hobble after training but did
        not utilize it during these events.10

28.     Deputy Vega arrived at 1:34:42 pm and although he knew EP had been in a struggle,
        that he was autistic, obese and special needs, and knew of the dangers of excited
        delirium and positional asphyxia, he made no effort to intervene and place EP in a
        recovery position. In his statement to homicide detectives, Deputy Vega noted that
        Pitfield was in a "good position, he looked tired but he looked okay."11 Vega was asked
        about Pitfield's control of the situation: "Q: And it's your perception that he had control.
        A: It appeared to be...yeah."12 E.P. "was fully handcuffed and there was two sets."13
        Deputy Vega also spoke with Deputy Pitfield and with E.P.'s mom noting, "And we
        talking to the kid ... To calm down, you know it's okay... it's okay." He heard E.P. saying
        "firetruck, firetruck" when E.P. heard a siren.14 Vega told homicide investigative
        detectives that by this time he "kind of get the picture" that E.P. has "some special
        needs."15 When he was asked if anybody told him about E.P. being "special needs" he
        responded, "I... not directly, I overheard that he was a special needs kids, but you
        can...you can obviously tell because when he yells "Firetruck" you can hear the speech
        and...and the way he's talking and how the sirens set him off, he wasn't like, somebody
        else."16 At the time that Deputy Vega relieved Deputy Pitfield on EP's back, he noted:
        "I'm sitting there, I got my hands on the cuffs and I'm putting him on his back, I'm like,
        "It's going to be okay, calm down., calm down. It's going to be okay." And the mom is


7 Mehrtens Statement at 4
8 Mehrtens Statement at 4.
9 Mehrtens Statement at 10.
10 Mehrtens deposition at 34.
11 Vega Statement at 1.
12 Vega Statement at 2.
13 Vega Statement at 2-3.
14 Vega Statement at 3.
15 Vega Statement at 4.
16 Vega Statement at 4.

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        steadily.... (Q) Is there resistance at this point? (A) No he was fine, at this point. But
        then all of a sudden, it went from zero to one hundred. (Q) And what., what does he do?
        (A) He starts trying to get up, he starts bucking., he trying to roll me off."17 Deputy Vega
        did not have a RIPP Hobble at the time of this incident, although he was provided one
        after training.18

29.     Deputy Guidry arrived at 1:34:42 pm and although she knew EP had been in a struggle,
        that he was autistic, obese and special needs, she made no effort to intervene and place
        EP in a recovery position. In her statement to homicide detectives, Deputy Guidry noted
        that when she arrived E.P. was on his belly and handcuffed with Deputy Pitfield
        "straddling" him. Deputy Guidry further noted "... the first thing I noticed, I asked Chad
        (Deputy Pitfield)... I said, "Is he autistic?" And Chad said, "Yes, severely". I just
        recognized it."19 Deputy Guidry also reported that E.P. was saying "firetruck",
        something like "I don't want the firetruck. So, it was kind of incomplete sentences and a
        lot of mumbling."20 In Deputy Guidry observed that "Chad (Deputy Pitfield) had him
        restrained and everything was fine."21 Deputy Guidry was a former EMT and was trained
        in the dangers of excited delirium and the prone restraint at the JPSO.22 Deputy Guidry
        did not have a RIPP Hobble on the date of the incident and does not recall whether she
        ever received one.23

30.     Deputy Estrada arrived at about the same time as Deputy Guidry and although he knew
        EP had been in a struggle, that he was autistic, obese and special needs, he made no
        effort to intervene and place EP in a recovery position. Deputy Estrada received the
        RIPP hobble training at JPSO where the dangers or excited delirium and positional
        asphyxia were covered.24 Deputy Estrada had a RIPP hobble in his vehicle, but did not
        understand that it was used in conjunction with the TARP procedure, and did not utilize
        the RIPP hobble.25 Instead, Deputy Estrada utilized leg shackles despite not being
        trained to utilize leg shackles in the field.26

31.     At 1:36:02 Deputy Vega switched positions with Deputy Pitfield and Deputy Vega
        applied pressure to EP to keep him in a prone position even though EP was not resisting,
        was handcuffed, and there were 6 deputies present at the scene.




17 Vega Statement at 5.
18 Vega deposition at 79,165.
19 Guidry Statement at 2.
20 Guidry Statement at 3.
21 Guidry Statement at 2.
22 Guidry deposition at 23-26.
23 Guidry deposition at 41-43.
24 Estrada deposition at 29-33.
25 Estrada deposition at 24.
26 Estrada deposition at 25.

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32.     Deputy Gaudet then arrived, making 7 deputies at the scene and although he knew EP
        had been in a struggle, that he was autistic, obese and special needs, he made no effort
        to intervene and place EP in a recovery position. Deputy Gaudet was trained regarding
        the dangers of excited delirium and positional asphyxia.27 Further, Deputy Gaudet had a
        RIPP hobble in his "side pocket" but did not consider using it.28

33.     Deputy Vega then pushed EP's hands over his head, which is used as a pain compliance
        technique. Deputy Vega claims that EP somehow pulled him forward with his hands
        handcuffed behind his back and denies that he used a pain compliance technique.
        Deputy Mehrtens acknowledged that Vega used this pain compliance technique in his
        statement to JPSO as follows: "/ turn around and I see the struggle happening again.
        Deputy Vega has technique, you know, when somebody starts struggling, you have
        handcuffs on them, you just begin to slightly elevate the arms so that you can just
        maintain control of the upper torso, urn, he begins doing that...."29 Deputy Mehrtens
        held EP's right arm down, Detective Vaught laid on EP's legs and Deputy Vega placed his
        arm across EP's head or neck. Instead of rolling EP over into the recovery position,
        these three deputies continued to apply body weight on EP.

34.     According to Deputy Pitfield, it was not until Ms. Lou yelled out that EP was being
        choked that he was placed in a recovery position. While Deputy Vega denies that he
        applied a choke hold on EP, Deputy Vega acknowledges hearing Ms. Lou complain about
        a chokehold being used.30 Further, Deputy Vega acknowledges that he did use some
        sort of head hold on EP. In his statement to homicide detectives, Deputy Vega notes:
        "And he's trying to get up and he's trying to turn and get me off, so I put my forearm
        right here, underneath his chin to try to maintain some control and to keep him from
        hitting his head and doing anything else."31 In his deposition, Deputy Vega described
        the hold as follows: "Q. What did you do? A. At that point, he was trying to bite me, so I
        was able to get - he was going for the biceps, so I was able to get my arm right across
        his jaw line right here, and I could only get my hand right by his chin so he couldn't bite
        down, and I put my fingers up so my fingers would not get bitten or get in the way, and
        then I covered my fingers with this hand. Q. So both hands were connected? A. Yeah.
        They were just holding my fingers. Q. It was your right arm that was against his right --
        the right side of his face? A. Jaw. Q. Right jaw line? A. Right along here. Q. And went
        across his chin? A. Underneath. Right about here. Q. So your biceps was against his - the
        right side of his face, correct? A. In that area, yes. Q. And then your arm went down, and
        then your hand came up under his chin? A. Yes. I put it right here. Q.. You are talking
        about the top of your wrist, correct? A. More behind it. Q. Somewhere around the wrist




27 Gaudet deposition at 34-36.
28 Gaudet deposition at 69.
29 Mehrtens Statement at 6.
30 Vega Statement at 9-10.
31 Vega Statement at 4.

                                                                                                 12
        area, forearm area? A. Yeah. Small. Q. Then you grab -- you attach that hand. You grab
        your other hand to complete the hold, correct? A. Like this, yeah."32

35.     Nearly 12 minutes after Deputy Pitfield took EP to the ground, the deputies realized EP
        was in cardiac arrest and they began CPR after waiting for over a minute. EP was
        transported to the hospital where he later died.

36.     The Jefferson Parish Coroner's Office (JPCO) concluded that EP "died as a result of
        Excited Delirium due to an Acute Psychotic Episode in the setting of Severe Autistic
        Spectrum Disorder and Disruptive Behavior Disorder. Contributing factors include
        Morbid Obesity with Prone Positioning and Cardiomegaly."

      The Uses of Force by Deputies Pitfield and Vega were Excessive and Inconsistent with
                              Generally Accepted Police Practices

37.     Police officers are trained that the U.S. Supreme Court in its landmark decision Graham
        v. Connor held that to determine whether the force used to affect a particular seizure is
        reasonable, one must balance the nature and quality of the intrusion on the individual's
        rights against the countervailing government interests at stake. This balancing test is
        achieved by the application of what the Court labeled the objective reasonableness test.
        The factors to be considered include: 1.) The severity of the crime, 2.) Whether the
        suspect poses an immediate threat to the safety of the officers or others, and 3.)
        Whether the suspect is actively resisting or attempting to evade arrest by flight.

38.     Whether one's actions were objectively reasonable cannot be considered in a vacuum,
        but must be considered in relation to the totality of the circumstances. The standard for
        evaluating the unreasonable use of force reflects deference to the fact that peace
        officers are often forced to make split-second judgments in tense circumstances
        concerning the amount of force required. The reasonableness of a particular use of
        force must be judged from the perspective of a reasonable officer on the scene, rather
        than with the 20/20 vision of hindsight.

39.      Police officers are trained and prepared to assess dangerous situations and respond
         accordingly. Police officers are trained that for their force to be reasonable the level
         and manner of force must be proportional to the level of resistance and threat with
         which they are confronted. Proportionality is best understood as a range of permissible
         conduct based on the totality of the circumstances, rather than a set of specific,
         sequential, predefined force tactics arbitrarily paired to specified types or levels of
         resistance or threat.

40.      Whether or not the suspect poses an immediate threat to the safety of the officer or
         others is the most important of the Graham factors. There must be objective factors to


32 Vega deposition at 129-130.

                                                                                                 13
      justify an immediate threat, as a simple statement by an officer that he fears for his
      safety or the safety of others is insufficient. There is no requirement that a police
      officer wait until a suspect harms another to confirm that a serious threat of harm
      exists, but merely a subjective fear or a hunch will not justify the use of force by police.

41.   When determining whether or not there is an immediate threat to the officer or others,
      police officers are trained to assess a number of factors. These factors include, but are
      not limited to:

      a.     Severity of the threat to officers or others.
      b.     The conduct of the individual being confronted as reasonably perceived by the
             officer at the time.
      c.     Officer/subject factors (age, size, relative strength, skill level, injury/exhaustion
             and number of officers vs. subjects).
      d.     The effects of drugs or alcohol.
      e.     Subject's mental state or capacity, including disabilities such as autism.
      f.     Proximity of weapons or dangerous improvised devices.
      g.     The degree to which the subject has been effectively restrained and his/her
             ability to resist despite being restrained.
      h.     The availability of other options and their possible effectiveness.
      i.     Seriousness of the suspected offense or reason for contact with the individual.
      j.     Training and experience of the officer.
      k.     Potential for injury to citizens, officers and suspects.
       l.    Whether the person appears to be resisting, attempting to evade arrest by flight
             or is attacking the officer.
      m.     The risk and reasonable foreseeable consequences of escape.
      n.     The apparent need for immediate control of the subject or a prompt resolution
             of the situation.
      o.     Whether the conduct of the individual being confronted no longer reasonably
             appears to pose an immediate threat to the officer or others.
      p.     Prior contacts with the subject or awareness of any propensity for violence.
      q.     Other exigent circumstances

42.   Parking Lot Video

      a.      13:24:12 - EP exits the Laser Tag followed by his father.

      b.      13:24:21 - EP walks toward the Parsa vehicle and begins to slap his head. Ms.
              Lou exits the Laser Tag.

      c.      13:24:24 - EP begins to chase his father into the parking lot.

      d.      13:24:30 - EP begins slapping his head and his mother runs back to thefront
              door of the Laser Tag. EP then grabs onto his father's arm. Mr. Parsa opens the

                                                                                                 14
     rear driver's side door of his vehicle and EP continues to grab him. Ms. Lou
     watches from the sidewalk area.

e.   13:24:54 - EP pulls his father to the ground.

f.   13:25:02 - Mr. Parsa stands up and backs away from EP.

g.   13:25:10 - EP stands up and begins to run toward his mother who retreats inside
     the Laser Tag. Mr. Parsa prevents EP from entering the Laser Tag. Mr. Parsa
     holds EP on the ground.

h.   13:26:31 - EP and Mr. Parsa stand up and EP grabs ahold of Mr. Parsa at the
     doors to the Laser Tag and the two are struggling.

i.   13:26:58 - A woman enters the Laser Tag.

j.   13:27:54 - Mr. Parsa runs toward his vehicle and EP follows.

k.   13:28:01 - Mr. Parsa opens the rear driver's side door and EP again begins to
     struggle with his father.

l.   13:28:10 - Deputy Pitfield's vehicle can be seen approaching with its emergency
     lights activated.

m.   13:28:28 - Deputy Pitfield parks adjacent to the Parsa vehicle. Mr. Parsa and EP
     are standing next to their vehicle and Ms. Lou exits the Laser Tag. There is no
     struggle going on at this time.

n.   13:28:35 - EP begins to slap his head and his father stands between EP and
     Deputy Pitfield. EP begins to slap at his father's head and then slaps Deputy
     Pitfield several times on the head.

o.   13:28:51 - Deputy Pitfield takes EP to the ground. Both Mr. and Ms. Lou are
     standing near EP. Mr. Parsa appears to be holding EP's legs.

p.   13:28:54 - Deputy Pitfield punches EP. The video does not show the impact
     area. However, Deputy Pitfield punched EP with a closed fist to the head area
     according to his statement.

q.   13:29:03 - Deputy Pitfield reaches into the driver's door of his vehicle and then
     appears to be trying to handcuff EP. Ms. Lou is kneeling on the ground and
     appears to be assisting Deputy Pitfield.

r.   13:29:29 - Both Mr. Parsa and Ms. Lou are on their knees near EP's head and

                                                                                         15
      Deputy Pitfield continues to sit of EP.

s.    13:30:34 - EP appears to slap his head with his left hand. Deputy Pitfield
      appears to be seated on EP's lower back and Mr. Parsa and Ms. Lou are kneeling
      next to EP. While EP is not yet handcuffed, it does not appear that Deputy
      Pitfield is having difficulty controlling him.

t.    13:31:10 - EP is able to extend his right arm out, but Deputy Pitfield quickly
      moves his right arm back behind his back.

u.    13:32:28 - Mr. Parsa stands up and Deputy Pitfield is still controlling EP by sitting
      on his lower body while Ms. Lou appears to be speaking with EP.

V.    13:34:08 - Detective Vaught arrives and exits his vehicle. Detective Vaught takes
      control of EP's left arm and brings it behind his back.

w.    13:34:20 - EP is handcuffed with both hands behind his back.

X.    13:34:23 - Detective Mehrtens arrives and exits his vehicle.


y-    13:34:39 - Detective Vaught stands up. Detective Mehrtens is standing next to
      EP. Detective Mehrtens appears to have not made any contact with EP.

z.    13:34:39 - Deputy Guidry arrives and exits her vehicle.

aa.   13:34:43 - Deputy Vega walks into view and approaches EP.

bb.   13:34:54 - Deputy Estrada arrives and exits his vehicle. All of the deputies are
      standing near EP, but only Deputy Pitfield appears to be controlling him.

cc.   13:35:09 - Detective Vaught begins speaking with Mr. Parsa. There are 6
      deputies surrounding EP. Only Deputy Pitfield is sitting on EP and Ms. Lou is still
      kneeling down next to EP apparently speaking to him.

dd.   13:36:01 - Deputy Vega exchanges positions with Deputy Pitfield and Deputy
      Vega is now seated on EP's back.

ee.   13:36:16 - Deputy Estrada returns to his vehicle and moves his vehicle to in front
      of Deputy Pitfield's vehicle.

ff.   13:36:39 - Deputy Pitfield opens the rear hatch of his vehicle. Only Deputy Vega
      is seated on EP. The other deputies are standing nearby but taking no action.

gg-   13:36:55 - Deputy Vega leans forward and appears to pull EP's arms up behind

                                                                                         16
                  his back. There is some movement from EP, but none of the other deputies
                  make any movement toward EP.

         hh.      13:37:05 - Detectives Vaught and Mehrtens approach EP and begin to assist
                  Deputy Vega in holding EP in a prone position.

         ii.      13:37:10 - Unidentified person with orange bag shows up on scene.

        jj.       13:37:23 - Ms. Lou stands up.

         kk.      13:37:41 - Deputy Estrada obtains shackles from the rear of his vehicle and
                  approaches EP.

         II.      13:37:47 - Deputy Gaudet arrives.

         mm.      13:38:24 - Deputy Gaudet appears to assess EP and perform a sternum rub.

         nn.      13:38:56 - EP is removed from the prone position and placed on his side/back.
                  CPR is not started.

         oo.      13:39:15 - A paramedic vehicle arrives.

         pp.      13:40:30-The paramedic runs to his vehicle.

         qq.      13:40:33 - A deputy begins chest compressions.

         rr.      13:44:30 - A deputy takes pictures of Mr. Parsa's face while CPR being
                  performed.

         ss.     13:44:55 A deputy takes pictures of Mr. Parsa's hand while CPR being performed.

         tt.     13:45:11 A deputy holds a measuring device to Mr. Parsa's face while another
                  deputy takes pictures while CPR is being performed.

         uu.      13:45:28 A deputy holds a measuring device to Mr. Parsa's hand while another
                  deputy takes pictures while CPR is being performed.

Positional Asphyxia

43.     It is generally accepted in policing that, under certain circumstances, restraint
        techniques, including physically holding a subject down, can constitute a use of force.33
         Moreover, Officers are responsible for the health, safety and welfare of people in their


33 Seth W. Stoughton, Jeffrey J. Noble, Geoffrey P. Alpert, Evaluating Police Uses of Force 195-96,202-03 (2020).

                                                                                                                    17
        custody and must protect them from known risks of harm. Officers learn that they can,
        when appropriate, put a subject into a prone (face down) position on the ground to
        facilitate handcuffing or to secure the individual. However, it is well known and
        generally accepted that keeping handcuffed individuals in the prone position after
        handcuffing can negatively affect the subject's breathing and cause or contribute to
        positional asphyxia.34 It is generally accepted in policing that the risks of asphyxiation
        are magnified when officers apply weight or pressure to a handcuffed, prone subject,
        especially when the subject is obese.

44.     It is also generally accepted that subjects who appear to be in an agitated or excited
        state, usually due to mental illness, intoxication, or a combination, and are acting
        delirious or irrational, have a significantly elevated need for oxygen and are therefore
        more susceptible to positional asphyxiation. Compounding the risk is that people who
        are in such a state of "excited" or "agitated" "delirium," while frequently not involved in
        any significant criminal activity, nevertheless are not responsive to "officer presence"
        and verbal commands that are effective to gain compliance without the use of force in
        most other situations. Officers not infrequently have to use devices such as Tasers and
        wrestle the subject into restraints. The altercation itself further increases the demand
        for oxygen and increases the risk of positional asphyxiation from a prone restraint.

45.     Importantly, it is also generally accepted that the oxygen deficit that can result in
        positional asphyxia does not preclude speech. As an article first published in 2015 by
        Calibre Press—one of the largest publishers of police media, if not the largest publisher
        of police media, in the United States—explained, the idea that someone can breathe
        because they are speaking is a "major misconception" and "perhaps one of the most
        lethal misconceptions in ... law enforcement."35

46.     As an industry, policing has known about the risks of positional asphyxia for over thirty
        years. In 1988, four doctors published an article describing that keeping individuals
        "prone, handcuffed, 'and hog-tied'" had negatively affected their ability to recover
        "peripheral oxygen saturation and heart rate" when compared to individuals "at rest"




34 Some commentators have distinguished between "positional asphyxia" and "compression asphyxia" on technical
grounds. In technical usage, positional asphyxia is typically used to refer to situations in which the subject's
respiration (breathing) is compromised by the positioning of the subject's body, while compression asphyxia is
typically used to refer to situations where weight or pressure on the subject can mechanically limit the subject's
respiration. Both positional asphyxia and compression asphyxia are types of mechanical asphyxia, a phrase that
refers to some mechanical interference with normal breathing. Commentators also sometimes use the phrase
"restraint asphyxia" to refer to a combination of separate factors that, in toto, can contribute to mechanical
asphyxia. As an industry, however, policing has generally adopted less technical terminology, often using
"positional asphyxia" in a somewhat generalized way to refer to a combination of mechanical factors that can
inhibit a restrained subject's breathing.
35 Steve Cole, Screaming Their Last Breath: Why First Responders Must Never Ignore the Words "I Can't Breathe",
Dec. 11, 2015, reprinted Jun. 2, 2020, https://bit.lv/37kTnRJ (emphasis in original).

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         and "during exercise."36 The authors, writing in the American Journal of Medical
         Pathology, contended that "the physiological effects produced by positional restraint
         should be recognized in deaths where such measures are used."37 This was followed,
         several years later, by an article in the same journal reporting a case study of three in-
         custody deaths "attributed to positional asphyxia."38 Early research focused particularly
         on the risks of keeping a "hog-tied" individual—that is, someone who is handcuffed
         behind their back with their legs bound at the ankles and connected to their wrists such
         that their legs are bent with their feet brought to a position near their buttocks—but it
         was quickly recognized that handcuffed individuals were at heightened risk of positional
         asphyxia even when they were not hog-tied.39

47.      This issue was brought into the forefront of police policymaking in the early 1990s, after
         a 16-year-old died after being restrained by San Diego Police Department officers. A
         police task force surveyed the medical literature and hundreds of police agencies
         around the country before issued a series of recommendations, including "[ojnce an
         individual has been controlled and handcuffed, the officer should roll the subject onto
         his/her side, or into a sitting position as soon as possible to reduce the risk of positional
         asphyxia."40

48.      The International Association of Chiefs of Police—the world's oldest and largest
         professional policing organization—endorsed this directive in 1993, writing, "when it is
         necessary to use the weight of several officers in order to subdue an individual for
         handcuffing, the arrestee should be freed from that weight as soon as possible in order
         to allow him to breathe freely. In order to facilitate the individual's breathing, he should
         also be rolled onto his side or into a sitting position as soon as possible."41 In 1995, the
         United States Department of Justice provided a bulletin that stated, "[AJs soon as the


36 Donald T. Reay et al., Effects of Positional Restraint on Oxygen Saturation and Heart Rate Following Exercise, 9
Am. J. Forensic Med. & Pathology 16 (1988).
37 Id.
38 Donald T. Reay, et al., Positional Asphyxia During Law Enforcement Transport, 13 Am. J. Forensic Med. &
Pathology 90 (1992). Later articles disputed the degree of risk posed by positional asphyxia and criticized the
methodology of earlier research, but such research suffered from its own methodological flaws. Specifically, later
research was based on experiments involved healthy, non-obese, and usually younger, individuals without
preexisting health conditions who were not under the influence of drugs or alcohol and who did not violently
struggle with officers. Such study participants are not, of course, representative of the at-risk population with
whom the police interact. Indeed, there is good reason to think that a researcher proposing an experimental study
involving individuals from the relevant population would be denied approval on ethical grounds because such
research would be too dangerous. Additionally, experimental studies generally did not try to replicate field
conditions. As one such study acknowledged, "It is possible that a combination of factors, including underlying
medical condition, intoxication, agitation, delirium, and struggle as well as body position, may result in respiratory
compromise that would not be detected by our study." Theodore C. Chan, et al., Restraint Position and Positional
Asphyxia, 30 Annals of Emergency Medicine 578,585 (1997).
39 See, e.g., Ronald L. O'Halloran & Janice G. Frank, Asphyxial Death During Prone Restraint Revisited; A Report of
21 Cases, 21 Am. J. Forensic Med. & Pathology 39,48 (2000).
40 San Diego Police Dep't, Final Report of the Custody Death Task Force (1992).
41 International Association of Chiefs of Police, Training Key No. 429, Custody Death Syndrome (1993).

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         suspect is handcuffed, get him off his stomach."42 Any failure to do so, the bulletin
         made clear, could create a "vicious cycle of suspect resistance and officer restraint" in
         which the handcuffed, prone subject's breathing becomes labored as they begin to
         experience an oxygen deficit, the subject responses to the oxygen deficiency by
         struggling, and the officers respond to the subject's struggling by putting more weight
         on their back, which further compromises the subject's breathing.43 In 1998, the
         International Association of Chiefs of Police wrote, "during the past decade police
         departments have been repeatedly warned not to permit the restraint of prisoners in
         the prone position."44 In 2001, the Department of Justice advised police agencies to
         "develop use of force policies that address ... particular use of force issues such as ...
         positional asphyxia."45 In the 2015 consent decree with the City of Ferguson, the
         Department of Justice required the adoption of procedures and training that
         "[m]inimiz[e] the risk of positional asphyxia" and instruct officers to "use restraint
         techniques that do not compromise a subject's breathing."46 A 2017 textbook on
         policing, Police in America, states that "positional asphyxia occurs when a person's body
         position prevents normal and adequate breathing," and that this "[ujsually" occurs
         "when the subject is face down with hands secured behind the back."47 In short,
         concerns about positional asphyxia and the corresponding directive to avoid keeping
         handcuffed individuals in the prone position had become generally accepted in policing
         by at least the turn of the century.

49.     Today, many police agencies around the United States have policies explicitly restricting
        the use of prone restraint; those policies overwhelmingly direct officers to avoid keeping
        handcuffed individuals in the prone position for any extended period of time.48 Many

42 United States Department of Justice, National Institute of Justice, Positional Asphyxia—-Sudden Death, June
1995, https://bit.lv/36o4lXc .
43 Id.
44 International Association of Chiefs of Police, The Prone Restraint-Still A Bad Idea, 10 Pol'y Rev. 1,2 (1998).
45 United States Dep't of Justice, Principles for Promoting Police Integrity 4 (2001).
46 Consent Decree at 41, United States v. City of Ferguson, No. 4:16-cv-00180 (E.D. Mo. Apr. 19, 2016),
https://bit.lv/3mpOVZZ. In the 2016 consent decree with the City of Cleveland, the Department of Justice required
officers to be trained in and to follow protocols related to "the risks of positional asphyxia," specifically in "using
restraint techniques that do not impair the subject's respiration" following the use of pepper spray or electronic
control weapons. Settlement Agreement at 17,19, United States v. City of Cleveland, No. l:15-cv-01046-SO (N.D.
Ohio June 12, 2015), https://bit.lv/3fUBo8n.
47 Steven G. Brandl, Police in America 252 (2018).
48 See, e.g., Berkeley Police Department, Handcuffing and Restraints, Policy 302 ("If the person being handcuffed is
on the ground or in a prone position, officers should, as soon as possible, place the person in an upright sitting
position or on their side for respiratory recovery and to mitigate the potential for positional asphyxia.),
Albuquerque Police Department, Use of Force, SOP 2-52 at 5, https://bit.lv/33wYrRJ ("In situations when the
individual is forced into a face down position, officers shall release pressure/weight from the individual and
position the individual on their side or sit them up as soon as they are restrained and it is safe to do so."),
Charlotte-Mecklenburg Police Department, Directive 500-003, https://bit.lv/3mp7uM7 ("Avoid placing a subject in
a position that is likely to contribute to positional asphyxia ... control restraints while lying on back/stomach
should be avoided."); Denver Police Department, Operations Manual, Force Related Policies, 105.01(5)(e),
https://bit.lv/3lmlq77 ("[OJfficers will immediately cease applying body weight to an individual's back, head, neck,
or abdomen once the individual is restrained and other control tactics may reasonably be utilized other than body

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         other agencies do not have specific policies, but officers are still expected to mitigate
         the risks of positional asphyxia by not keeping subjects in the prone position after
         handcuffing.

50.      The IACP developed a Model Policy in 2017 that was accompanied by a Concepts and
         Issues Paper on Excited Delirium. That policy directed that, "When restrained, officers
         should position the subject in a manner that will assist breathing, such as placement on
         his or her side, and avoid pressure to the chest, neck or head. Officers should not
         attempt to control continued resistance or exertion by pinning the subject to the ground
         or against a solid object, using their body weight. Officers should check the subjects
         pulse and respiration on a continuous basis until transferred to EMS personnel. Officers
         shall ensure the airway is unrestricted and be prepared to administer CPR or an
         automated external defibrillator (AED) if the subject becomes unconscious. Following a
         struggle, the subject should be showing normal signs of physical exertion such as heavy
         breathing. However, if the subject becomes calm and breathing is not labored during or
         after the application of restraints, it might be an indication that he or she is in jeopardy
         and requires immediate medical attention to avoid cardiac arrest."

51.      As mentioned above, it is also well known and generally accepted in policing that there
         are certain factors that exacerbate the risk of positional asphyxia. The 1995 DOJ
         bulletin, for example, identified certain factors that "appear to be associated most often
         with" in-custody deaths, including "cocaine-induced excited delirium," "[d]rug and acute


weight. As soon as possible after an individual has been handcuffed, the individual should be turned onto his/her
side or allowed to sit up, so long as the individual's actions no longer place officers at risk of imminent injury.
Officers will make all reasonable efforts to ensure that the individual is not left in a prone position for longer than
absolutely necessary to gain control over the resisting individual."); Detroit Police Department, Use of Force,
304.2-7, Duty to Report/Render Aid, https://bit.lv/2HR7h59 ("Restrained subjects should be placed in an upright or
seated position to avoid Positional Asphyxia which can lead to death, when a subject's body position interferes
with breathing."); Indianapolis Police Department, General Order 8.1, Prisoner Handling, Transportation and
Escape, https://bit.lv/2HQFFxO ("A subject placed on their chest or stomach, with the legs and arms restrained
behind the back, may have difficulty breathing, leading to serious injury or death. 1. Officers should avoid leaving
any prisoner on their chest or stomach for any period of time longer than is absolutely necessa ry, regardless of the
type of restraint used. 2. The subject should be moved onto their side, allowing less interference with normal
breathing, as soon as possible."); New Orleans Police Department, Operations Manual, Chapter 1.3.1.1,
Handcuffing and Restraint Devices, https://bit.lv/3lokG2u ("If a subject has been placed on his or her stomach, turn
him or her on the side or in a seated position as soon as handcuffs are properly applied. If the subject continues to
struggle, do not sit, lie or kneel on the subject's back." (emphasis in original)); New York Police Department, Patrol
Guide, Use of Force, 221-02, https://on.nyc.gov/37ixnXG ("Avoid actions which may result in chest compression,
such as sitting, kneeling, or standing on a subject's chest or back, thereby reducing the subject's ability to breathe.
... Position the subject to promote fee breathing, as soon as safety permits, by sitting the person up or turning the
person onto his/her side."); Metropolitan Police Department (Washington, D.C.), General Order 901.07, Use of
Force, https://bit.lv/3moUnum ("In order to avoid asphyxiation, members shall...[pjosition the individual in a
manner to allow free breathing once the subject has been controlled and placed under custodial restraint using
handcuffs or other authorized methods....Members are prohibited from: Placing a person in a prone position (i.e.,
lying face down) for a prolonged period of time ... except during exigent circumstances. Prisoners shall be carefully
monitored while in a prone position as a prone position may be a contributing factor to cause a prisoner to
suffocate, also referred to as positional asphyxiation.").

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         alcohol intoxication," "[vjiolent struggle," and "unresponsiveness of subject during or
         immediately after a struggle."49 A 2017 policing textbook described positional asphyxia
         risk factors that include drug-induced "psychosis," "preexisting physical conditions," and
         "pressure on the abdomen" that can result from officers "holding a person down in the
         prone position."50 In 2019, Police Magazine, a police-oriented publication, published an
         article titled How to Prevent Positional Asphyxia, which identified positional asphyxia as
         "a potential danger of some common physical restraint techniques," and explained that
         "positional asphyxia is not just about the position of the subject's body. There are
         precipitating factors that make positional asphyxia deadly. These factors include
         intoxication due to alcohol, drug use, obesity, psychiatric illnesses, and physical injury,"
         as well as "predisposing medical conditions" and "violent struggle."51 The article
         instructs officers that they should "avoid the use of prone restraint techniques" when
         feasible and "[ojnce the suspect is handcuffed, get them off the face-down position."52

52.     There are four specific factors that, officers learn, can indicate that a subject is
        particularly susceptible to the risks of positional asphyxia.

         a.       First, officers learn that positional asphyxia results when a subject cannot take in
                  sufficient oxygen over time to sustain themselves. For that reason, indications
                  that a subject is becoming oxygen deprived indicate a particular susceptibility to
                  positional asphyxia. It is generally accepted in policing that officers must take
                  seriously and should never ignore a subject's statements that they cannot
                  breathe.53

         b.       Second, officers are taught that pre-existing health conditions can exacerbate
                  the risk of positional asphyxia, including obesity.54

         c.       Third, officers are taught that intoxication and substance abuse can exacerbate
                  the risk of positional asphyxia.55

         d.       Fourth, officers are taught that excited delirium can exacerbate the risk of
                  positional asphyxia.56



49/d.
50/d.
51 Lawrence E. Heiskell, Howto Prevent Positional Asphyxia, POLICE Mag. (Sept. 9, 2019), https://bit.lv/3fQqKPU.
52/d.
53 See, e.g., Steve Cole, Screaming Their Last Breath: Why First Responders Must Never Ignore the Words "I Can't
Breathe", Dec. 11, 2015, reprinted Jun. 2, 2020, https://bit.ly/37kTnRJ
54 Lawrence E. Heiskell, Howto Prevent Positional Asphyxia, POLICE Mag. (Sept. 9, 2019), https://bit.lv/3fQqKPU;
Steven G. Brandl, Police in America 252 (2018).
55 Lawrence E. Heiskell, Howto Prevent Positional Asphyxia, POLICE Mag. (Sept. 9, 2019), https://bit.lv/3fQqKPU;
Steven G. Brandl, Police in America 252 (2018).
56 Lawrence E. Heiskell, Howto Prevent Positional Asphyxia, POLICE Mag. (Sept. 9, 2019), https://bit.lv/3fQqKPU;
Steven G. Brandl, Police in America 252 (2018).

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53.     Here, there is overwhelming evidence that the members of the JPSO were trained in
        positional asphyxia and knew that maintaining an individual in a prone position could
        impact their ability to breathe. In fact, all of the deputies involved received RIPP Hobble
        training on at least once occasion and many had the training multiple times.57 Sheriff
        Lopinto did not have any RIPP Hobble training.58

         a.       Sergeant Pizzolato is the JPSO's training officer for the RIPP Hobble.S9

                  1.       Sergeant Pizzolato said he trains deputies that if they observe a subject
                           exhibiting certain behavioral patterns that are normally associated with
                           excited delirium they are to react accordingly.60 Sergeant Pizzolato said it
                           is important to recognize these signs because it is a medical emergency
                           and they are to have EMS start responding.61

                  2.       Sergeant Pizzolato said deputies are trained to never attempt to restrain
                           the person by themselves, but to call additional deputies and use a
                           swarm technique.62

                  3.       Sergeant Pizzolato said he discusses the dangers of the prone position
                           that has on a person's ability for gas exchange in the lungs, the openness
                           of their airway, and the bellows or muscular pump.63

                  4.       Sergeant Pizzolato said he discusses risk factors such as diminished
                           capacity and people who are obese.64

                  5.       Sergeant Pizzolato said he trains officers to place suspects on their side in
                           a recovery position which allows for the bellows action to allow them to
                           breathe, it provides a good view of the suspect’s face, and deputies can
                           control a person who is on their side.65

                  6.       Sergeant Pizzolato said he trains to "never leave anybody in a prone



57 Ex. 32 - Pitfield - RIPP Hobble training - 9/20/07; 11/24/15; Ex. 33 - Estrada - RIPP Hobble training - 2/9/04;
4/9/15; 8/2/15; 8/9/15; Ex. 34 - Gaudet - RIPP Hobble training - 7/31/07; 10/24/14 (RIPP Hobble Instructors
Course); 12/13/15; Ex. 35 - Vega - RIPP Hobble training - 10/20/11; 2/2/15; 7/31/15; Ex. 36 - Guidry - RIPP
Hobble training - 2/26/14; 4/14/15; 8/21/15; Ex. 37 - Mehrtens - RIPP HobbleJraining -10/4/16; Ex. 38 - Vaught
- RIPP Hobble training - 9/26/16.
58
   Ex. 37 - Lopinto training records.
59
   Pizzolato deposition at 35.
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   Pizzolato deposition at 40.
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   Pizzolato deposition at 45.
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   Pizzolato deposition at 52.
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   Pizzolato deposition at 53.
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   Pizzolato deposition at 53.
65
   Pizzolato deposition at 62.

                                                                                                                     23
                            position," as the prone position can cause respiratory compromise.66

                  7.       Sergeant Pizzolato said sitting on an obese person’s legs may not relieve
                           the pressure, obese people need to be placed on their side,67 and obese
                           people are particularly susceptible to positional asphyxia.68

                  8.       Sergeant Pizzolato said being handcuffed is a significant factor in the
                           amount of control a deputy has on a person.69

                  9.       Sergeant Pizzolato said that choking someone out is prohibited.70

                  10.      Sergeant Pizzolato testified that every JPSO deputy who was trained in
                           the RIPP Hobble should carry a RIPP Hobble while on duty.71

         b.       Sergeant Voltolina said the JPSO provided training on a "Agitated Chaotic Event,"
                  that includes autism and directs deputies to "not allow person to remain prone
                  for an unreasonable amount of time" and to "place on side; sit upright; supine;
                  stand."72

         c.       Sergeant Dowling said if an arrestee is in a prone position, deputies should put
                  them in a recovery position when it is safe.73 Sergeant Dowling said the recovery
                  position requires deputies to place suspects on their side so they can breathe.74

         d.       Deputy Estrada said suspects should be moved into a recovery position as fast as
                  possible if the subject is under control and when it is safe.75 Deputy Estrada said
                  when a suspect is handcuffed, deputies must do everything in their power to
                  keep these suspects alive, including placing someone in a recovery position.76
                  Deputy Estrada said deputies can't control someone in the recovery position and
                  safe does not mean zero resistance.77

                  1.       Deputy Estrada said he has been trained that placing pressure to the back
                           of an individual who is in a prone position may cause the person to have
                           trouble breathing. Deputy Estrada said the remedy is simple and that is

66 Pizzolato deposition at 64-65.
67 Pizzolato deposition at 67.
68 Pizzolato deposition at 70.
69 Pizzolato deposition at 69.
70 Pizzolato deposition at 56.
71 Pizzolato deposition at 87-89
72 Exhibit 48.
73 Dowling deposition at 43-44.
74 Dowling deposition at 108.
75 Estrada deposition at 48-50.
76 Estrada deposition at 51.
77 Estrada deposition at 53-54.

                                                                                                     24
                           to get pressure off the suspects back.78 Deputy Estrada said Deputy
                           Pitfield was seated on EP's legs right below his butt.79

                  2.       Deputy Estrada said he heard Deputy Pitfield's radio call and he
                           responded to the scene code 3.80 When he arrived, Deputy Pitfield was
                           sitting on EP legs below his butt.81 Deputy Estrada said when he arrived,
                           two detectives, Deputy Vega and Deputy Pitfield were already at the
                           scene.82 Deputy Estrada said he did not see a struggle where he believed
                           Deputy Pitfield needed his help.83

                  3.       Deputy Estrada said he did not see a struggle when Deputy Vega
                           transitioned with Deputy Pitfield.84

                  4.       Deputy Estrada had a RIPP Hobble in his vehicle, but did not understand
                           that it was used in conjunction with the TARP procedure, and did not
                           utilize the RIPP hobble.85 Instead, Deputy Estrada utilized leg shackles
                           despite not being trained to utilize leg shackles in the field.86

         e.       Deputy Guidry said she is sure that she was trained in the dangers of a prone
                  position and is aware that breathing can be labored if a subject is in a prone
                  position, that more weight on a person's back causes more compression and
                  increases the difficulty in breathing, and the natural reaction to a lack of oxygen
                  is that a person will struggle.87

                  1.       Deputy Guidry said she has been trained to roll a person on their side
                           once they are under control.88

                  2.       Deputy Guidry said an obese person is at a greater risk.89

                  3.       Deputy Guidry said she was not actively involved in controlling EP, and
                           when she arrived, Deputy Pitfield was trying to control EP. Deputy
                           Pitfield said he "pretty much" had EP under control and there was



78 Estrada deposition at 66.
79 Estrada statement at 2.
80 Estrada deposition at 73-74.
81 Estrada deposition at 75.
82 Estrada deposition at 93.
83 Estrada deposition at 95.
84 Estrada deposition at 100.
85 Estrada deposition, p. 24.
86 Estrada deposition, p. 25.
87 Guidry deposition at 24-25.
88 Guidry deposition at 26.
89 Guidry deposition at 29.

                                                                                                     25
                           nothing she could do.90

                  4.       Deputy Guidry said she did not know EP was autistic at the time she was
                           dispatched, but she was told he was autistic by Deputy Pitfield.91 Deputy
                           Guidry said she asked Deputy Pitfield if he was autistic and Deputy
                           Pitfield said, "Yes, severely," and that she asked because she "just
                           recognized it."92

                  5.       Deputy Guidry said the best and safest method to control a person is to
                           put them in a recovery position and she does not recall any effort to put
                           EP in a recovery position.93 Deputy Guidry said if a person is in a recovery
                           position and actively resisting, deputies would be able to control the
                           person.94

                  6.       Deputy Guidry did not have a RIPP Hobble on the date of the incident and
                           does not recall whether she ever received one.95

         f.       Deputy Gaudet said he taught the RIPP hobble restraint at the JPSO academy
                  between 2012-2014 and part of that training included the dangers of the prone
                  restraint.96

                  1.       Deputy Gaudet said the lack of oxygen can cause a person to struggle.97

                  2.       Deputy Gaudet said obesity is a factor.98

                  3.       Deputy Gaudet said in his deposition he arrived, Deputy Vega was on EP's
                           hips and EP had his hands handcuffed in front of his body.99 However, in
                           his statement he said Deputy Vega was on EP's "back."100

                  4.       Deputy Gaudet said when Deputy Vega got up EP was limp. He applied a
                           sternum rub and then CPR.101 Deputy Gaudet said when Deputy Vega got
                           up, they rolled EP "to the rescue position."102


90 Guidry deposition at 49-50.
91 Guidry deposition at 54-56.
92 Guidry statement at 2.
93 Guidry deposition at 62.
94 Guidry deposition at 74.
95 Guidry deposition, pp. 41-43.
95 Gaudet deposition at 37.
97 Gaudet deposition at 40.
98 Gaudet deposition at 42.
99 Gaudet deposition at 81-82.
100 Gaudet statement at 3.
101 Gaudet deposition at 83-85.
102 Gaudet statement at 3.

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                  5.       Deputy Gaudet did not see EP violently struggle between 14:00 -15:12
                           on the video and he did not see a struggle when Deputy Vega exchanged
                           positions with Deputy Pitfield at 16:00 on the video.103

                  6.       Deputy Gaudet said he did not see EP bite anyone nor did he see Deputy
                           Vega use a choke hold.104 105

                  7.      Deputy Gaudet said, "Mom was implying that we did wrong yes. Mom
                          was implying that we were choking him and mom was implying that we
                          were using excessive force and mom was screaming that he was special
                          needs after and uh, but again this started. Mom started with this after
                          the fact. This mom was not saying that while this was going on."10s

                  8.       Deputy Gaudet had a RIPP hobble in his "side pocket" but did not
                           consider using it.106

         g.      Deputy Mehrtens said the recovery position is an "option" to be used if a person
                 is choking, vomiting, spitting up, or having difficulty breathing. Deputy Mehrtens
                 said it was not mandatory to place a person in a recovery position.107

                  1.      Deputy Mehrtens said he does not agree that a prone position is
                          dangerous, but said breathing may be more difficult in a prone
                          position.108

                 2.       Deputy Mehrtens said weight placed on a person's back may
                          contribute,109 but he does not recall if obesity is a factor.110

                  3.      Deputy Mehrtens said when he arrived, EP "was face down on the
                          ground, he had two (2) sets of handcuffs and his hands were handcuffed
                          behind his back, with Deputy Pitfield sitting on his buttocks area."111

                 4.       Deputy Mehrtens said when he arrived, "there wasn't, there wasn't a
                          struggle, it didn't appear to be a struggle. Deputy Pitfield was trying to
                          calm him. There was another lady, who we later found out was his


103 Gaudet deposition at 96-98.
104 Gaudet deposition at 90.
105 Gaudet statement at 6.
106 Gaudet deposition at 69.
107 Mehrtens deposition at 36.
108 Mehrtens deposition at 48.
109 Mehrtens deposition at 49.
110 Mehrtens deposition at 50.
111 Mehrtens statement at 3.

                                                                                                       27
                           mother, who was trying to calm him as well next to his head while he was
                           on the ground."112 Deputy Mehrtens said, "I didn't see a struggle so
                           there was no need for me to engage him."113

                  5.       Deputy Mehrtens said Deputy Pitfield had control and "Why would I
                           move him to recovery and potentially lose control?"114 Deputy Mehrtens
                           acknowledged that Vega uses a pain compliance technique in his
                           statement to JPSO as follows: "I turn around and I see the struggle
                           happening again. Deputy Vega has technique, you know, when somebody
                           starts struggling, you have handcuffs on them, you just begin to slightly
                           elevate the arms so that you can just maintain control of the upper torso,
                           um, he begins doing that...."

                  6.       Deputy Mehrtens said at 16:00 on the video, he can be seen standing
                           with his hands in his pockets.115

                  7.       Deputy Mehrtens said Deputy Vega's arm was down on the right side of
                           EP's neck and across his chest, but he was not choking EP (17:44 in the
                           video).116

                  8.       Deputy Mehrtens received a RIPP Hobble after training but was not asked
                           whether he had RIPP Hobble on the date of this incident.117

         h.      Detective Vaught said he was the first deputy to arrive after Deputy Pitfield and
                 he has been trained that if a person is in a prone position and there is weight on
                 their back, their breathing can be compressed.118

                  1.       Deputy Vaught said he does not recall being trained on positional
                           asphyxia,119 he does not know a recovery position,120 and he does not
                           recall being trained not to leave a person in a prone position.121

                  2.       Deputy Vaught said when he arrived, Deputy Pitfield told him that EP was
                           "special needs."122 Deputy Vaught said when he applied that handcuff EP
                           was not resisting and was "moving a little bit but he wasn't trying to

112 Mehrtens statement at 3.
113 Mehrtens statement at 4.
114 Mehrtens deposition at 70.
115 Mehrtens deposition at 74.
116 Mehrtens deposition at 88
117 Mehrtens deposition, p. 34.
118 Vaught deposition at 38.
119 Vaught deposition at 83.
120 Vaught deposition at 82.
121 Vaught deposition at 96.
122 Vaught statement at 4.

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                             resist or pull his- -pull his arm away."123

                  3.         Although the video evidence does not support his conclusion, Detective
                             Vaught said there was never a lull in the fight with EP.124 Detective
                             Vaught said when the person has stopped all resistance, it would then be
                             safe to move the person into a recovery position.125 126

                  4.         Detective Vaught said although he had been trained in the hobble,125 he
                             did not have a hobble at the time of the incident.127

                   5.        Detective Vaught said it was possible for the 6 deputies to put EP in a
                             recovery position.128

                   6.        Detective Vaught said EP did not resist after he was handcuffed,129 and
                             he did not place EP in a recovery position after he was handcuffed
                             because he went to speak with Mr. Parsa. Detective Vaught said he
                             would not have left Deputy Pitfield alone if he did not believe it was safe
                             to do so.130

                   7.        Detective Vaught did not have a RIPP Hobble on the date of this event
                             and does not know whether he received a RIPP Hobble after receiving the
                             RIPP Hobble training.131

         i.       Deputy Pitfield said he was trained on positional asphyxia and the recovery
                  position.132

                   1.        Deputy Pitfield said he was trained to place a person in the recovery
                             position once the struggle has stopped, that an obese person is at a
                             greater risk of harm, and that weight on a person's back risks impairment
                             of their ability to breathe.133

                   2.        Deputy Pitfield said one of the risks of positional asphyxia is that the
                             person could die.134

123 Vaught statement at 5.
124 Vaught deposition at 97.
125 Vaught deposition at 102.
126 Vaught deposition at 36.
127 Vaught deposition at 109.
128 Vaught deposition at 110.
129 Vaught deposition at 122.
130 Vaught deposition at 123.
131 Vaught deposition at 92.
132 Pitfield deposition at 64-65
133 Pitfield deposition at 69-73
134 Pitfirld deposition at 67.

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                   3.        Deputy Pitfield said he did not place EP in a recovery position because EP
                             was never in control.135 Further, at no point did Deputy Pitfield request
                             other deputies to assist him in moving EP into the recovery position.

                   4.        Deputy Pitfield had RIPP Hobble training but was never assigned a RIPP
                             Hobble.136

         j.        Deputy Vega said he received training in positional asphyxia and the instructor
                   discussed the risks of the prone position.137

                   1.        Deputy Vega said when he arrived, Deputy Pitfield was on EP's "butt
                             area," and he believed Deputy Pitfield had control.138

                   2.       Deputy Vega said he was trained it is possible to impact a person's ability
                            to breathe if they are in a prone position and that oxygen deficiency can
                            cause a person not to be passive.139

                   3.       Deputy Vega said he could not place a person in a recovery position if
                            they are still actively resisting.140

                   4.        Deputy Vega said he did not make any efforts to place EP in a recovery
                             position141 because EP was resisting and biting deputies.142

                   5.        Deputy Vega said he did not believe that the six deputies present could
                             have placed EP in a recovery position.143

                   6.       While Deputy Vega acknowledged that he must do everything in his
                            power to help to keep a person in his custody alive,144 he said he had no
                            other option but to leave EP in a prone position.145 At no point did
                            Deputy Vega request assistance from other officers to place EP in
                            recovery position.

                   7.        Deputy Vega did not have a RIPP Hobble at the time of this incident,

135 Pitfield deposition at 93-94.
136 Pitfield deposition at 56.
137 Vega deposition at 79.
138 Vega statement at 2.
139 Vega deposition at 87-88.
140 Vega deposition at 82.
141 Vega deposition at 105.
142 Vega deposition at 101.
143 Vega deposition at 109.
144 Vega deposition at 94.
145 Vega deposition at 162.

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                           although he was provided one after training.146

54.      Here, there is overwhelming evidence that the members of the JPSO were trained in
         positional asphyxia and knew that maintaining an individual in a prone position could
         impact their ability to breathe. In fact, all of the deputies involved received RIPP Hobble
         training on at least once occasion and many had the training multiple times.147 Sheriff
         Lopinto did not have any RIPP Hobble training.148 Significantly, only two deputies had
         the RIPP Hobble on their duty belt, but never considered utilizing it.

55.      Here, Deputy Pitfield was working at the mall when he received a call on his department
         issued cell phone from the manager of the laser tag who told him that a child with
         autism is involved in an incident with his father.149 Deputy Pitfield said he was the first
         deputy to arrive,150 and that he escorted EP to the ground - not to arrest him, but to
         control him so he could investigate what was happening.151 Deputy Pitfield said he was
         not immediately told that EP was autistic, but he was told after he had EP on the
         ground.152

         a.       Deputy Pitfield said that EP bit him on the leg and in response he delivered one
                  strike that was "possibly" to EP's head.153 In his statement, Deputy Pitfield said
                  he believed he delivered a hand strike to EP's "head area."154

                 i.       Under some circumstances strikes to the head or face can be reasonably
                          expected to risk of causing death or serious physical injury. There is a
                          substantial likelihood, depending on the type of strike and where the
                          strikes connect, that a strike will damage the eyes, nose, orbital bone,
                          cheekbone, or jaw through blunt trauma; cause permanent scarring by,
                          for example, tearing the skin or damaging the outer ear; cause a head to
                          twist beyond normal rotation in a way that injures the cervical spine and
                          or associated muscles; or cause an epidural hematoma, which can carry a
                          substantial risk of death.

                ii.       There is no legitimate police training that instructs officers to strike


146 Vega deposition at 79,165.
147 Ex. 32 - Pitfield - RIPP Hobble training - 9/20/07; 11/24/15; Ex. 33 - Estrada - RIPP Hobble training - 2/9/04;
4/9/15; 8/2/15; 8/9/15; Ex. 34 - Gaudet - RIPP Hobble training -7/31/07; 10/24/14 (RIPP Hobble Instructors
Course); 12/13/15; Ex. 35 - Vega - RIPP Hobble training - 10/20/11; 2/2/15; 7/31/15; Ex. 36 - Guidry - RIPP
Hobble training - 2/26/14; 4/14/15; 8/21/15; Ex. 37 - Mehrtens - RIPP Hobble training - 10/4/16; Ex. 38 - Vaught
-RIPP Hobble training-9/26/16.
148 Ex. 37 - Lopinto training records.
149 Pitfield deposition at 113; Heather Hilton Statement at 10.
150 Pitfield deposition at 114.
151 Pitfield deposition at 120.
152 Pitfield deposition at 119.
153 Pitfield deposition at 121.
154 Pitfield statement at 8.

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                              subjects in the head or face; indeed, police agencies commonly instruct
                              officers to avoid such strikes unless circumstances justify the application
                              of deadly force.155

                iii.     If Deputy Pitfield struck EP on the head in these circumstances, his use of
                              force would be excessive, objectively unreasonable and inconsistent with
                              generally accepted police practices.

         b.            Deputy Pitfield said he sat on EP's hip/butt area and had his knees on either side
                       of EP's body.156 In his statement, Deputy Pitfield said he was "mounted on his
                       butt."157 Deputy Pitfield said he purposely never mounted higher than EP's butt
                       because he knows his size.158

         c.            Deputy Pitfield said he believed that EP was trying to stand up.159

         d.            Deputy Pitfield said he knew that EP was obese and he placed a handcuff on one
                       of EP's hands and Mr. Parsa held EP's other hand.160 Deputy Pitfield said he was
                       able to handcuff EP with two sets of handcuffs linked together when Detective
                       Vaught arrived.161
                 A

         e.            Deputy Pitfield said Ms. Lou told him that EP was autistic when she placed a
                       jacket on the ground next to EP's head and said that EP will bang his head on the
                       ground.162 Deputy Pitfield said he told Ms. Lou not to put the jacket near EP's
                       head as it may impair his ability to breathe.163 Deputy Pitfield also said the
                       manager of the Laser Tag told him that EP was "special needs" when she had
                       called him.164

         f.            Deputy Pitfield said he never considered the swarm technique or using a hobble
                       to control EP's legs.165

         g.            Deputy Pitfield said he asked Deputy Vega to replace him on top of EP so he
                       could check the area where he had been bitten.166


155 SETH W. STOUGHTON, JEFFREY J. NOBLE, GEOFFREY P. ALPERT, EVALUATING POLICE USES OF FORCE 201
(2020).
156 Pitfield deposition at 122.
157 Pitfield statement at 10.
158 Pitfield statement at 16.
159 Pitfield deposition at 124.
160 Pitfield deposition at 128.
161 Pitfield deposition at 129.
162 Pitfield deposition at 153.
163 Pitfield deposition at 127.
164 Pitfield statement at 5.
165 Pitfield deposition at 131.
166 Pitfield deposition at 131.

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         h.        Deputy Pitfield claimed that EP was struggling the entire time.167

         i.        Deputy Pitfield said he did not move EP into a recovery position because EP was
                   actively resisting and trying to push up the entire time.168

         j.        Deputy Pitfield said he weighed approximately 308 pounds at the time of the
                   incident.169

56.      Deputy Vega said when he arrived, he saw a gaping hole in Mr. Parsa's chin.170 Deputy
         Vega said he spoke with Mr. Parsa for a few seconds and then spoke with Deputy
         Pitfield. Deputy Pitfield asked him to switch positions so he could assess his injury.171
         Deputy Vega said Deputy Pitfield told him that EP was autistic.172

         a.        Deputy Vega said he straddled EP and his weight was mainly on his toes and
                   knees and not a lot of his body weight was on EP.173 During the transfer, Deputy
                   Vega noted that EP was calm and not offering any resistance.174

         b.        Deputy Vega said that EP was turning, pulling up, and fighting with his hands.175

         c.        Deputy Vega said EP pulled forward and lifted his arms up. Deputy Vega denied
                   that he used a pain compliance technique on EP by lifting his arms.176 Deputy
                   Vega said he moved forward and his bicep was across the right side of EP's
                   face.177 Deputy Vega said Ms. Lou accused him after the incident of choking
                   EP.178

         d.        In his statement, Deputy Vega said, "I put my forearm right here, underneath his
                   chin to try to maintain some control and to keep him from hitting his head and
                   doing anything else. And then he turns and he gets my arm to bite. And so at
                   that point, he's starting to get to my bicep."179




167 Pitfield deposition at 149.
168 Pitfield deposition at 149
169 Pitfield deposition at 176.
170 Vega deposition at 119.
171 Vega deposition at 120.
172 Vega deposition at 123.
173 Vega deposition at 125.
174 Vega Statement at 5.
175 Vega deposition at 124.
176 Vega deposition at 128.
177 Vega deposition at 130.
178 Vega deposition at 131.
179 Vega statement at 6.

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         e.       Deputy Vega denied that he choked EP.180

         f.       Deputy Vega said he felt EP kicking, but he did not ask for a hobble to control
                  EP's legs.181

         g.       Deputy Vega said he put EP in a recovery position when he noticed that EP had
                  urinated.182

         h.       Deputy Vega said even if he had known that EP had been in a prone position for
                  six minutes prior to his arrival, he would not have done anything any
                  differently.183

57.      Ms. Lou said she told Deputy Vega, ""You have a -- there is a arm across his neck. There
         is a arm across his neck. He is having trouble breathing. He is having trouble breathing.
         That is how the man in New York died. Eric Garner. That is how the man in Baton Rouge
         died. There is a -- you have him in a chokehold. You have an arm across his neck."184
         Ms. Lou said one of the deputies responded, "That is not a chokehold."185

58.      Mr. Parsa said he told Deputy Pitfield that EP was autistic186 when Deputy Pitfield first
         arrived.187 Mr. Parsa said after Deputy Pitfield took EP to the ground, Deputy Pitfield
         was sitting on EP's lower back area or butt.188 Mr. Parsa said he did not see EP bite
         Deputy Pitfield.189

59.      Deputy Pitfield was assisting Mr. Parsa in controlling his son, who was in the midst of a
         melt down due to his autism. Although EP had struck his father, the deputies knew that
         EP suffered from autism, was non-verbal, and lacked the capacity to form criminal
         intent. The only word that the deputies were able to understand was "firetruck."

60.      Deputy Pitfield placed EP in a prone position with his stomach on the ground with
         Deputy Pitfield on his back or lower body for just over 5 minutes before both of EP's
         hands were handcuffed behind his back. Deputy Pitfield kept EP in a prone position,
         and he continued to place his body weight on EP's back for 1 minute and 41 seconds
         after EP was handcuffed, with deputies present, until Deputy Vega took his position.
         Deputy Vega then held EP in a prone position, and he placed his body weight on EP's


180 Vega statement at 10.
181 Vega deposition at 135.
182 Vega deposition at 134.
183 Vega deposition at 139.
184 Lou deposition at 181.
185 Lou deposition at 182.
186 Parsa deposition at 173.
187 Parsa deposition at 208.
188 Parsa deposition at 210.
189 Parsa deposition at 212.

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      back with the assistance of other deputies for an additional 2 minutes before EP went
      into medical distress. The deputies' use of force by maintaining EP in a prone position
      after he had been handcuffed and placing their body weight on his back in these
      circumstances where EP needed medical intervention, not a jail cell, was excessive,
      objectively unreasonable, and inconsistent with generally accepted police practices.

61.   The deputies' claim that EP was actively resisting and that they had no other option
      other to maintain EP in a prone position is absurd. Detective Vaught assisted Deputy
      Pitfield in handcuffing EP. Deputy Vaught then stood up and moved away within about
      15 seconds and at that point Detective Mehrtens is present and Deputy Guidry arrives in
      her vehicle. Deputy Vega arrived one minute after EP was handcuffed, Deputy Estrada
      arrived 15 seconds later, and Deputy Gaudet arrived 1 % minutes after Estrada. Other
      than Vaught assisting Pitfield in handcuffing EP, during this time, deputies were seen
      standing nearby and not making any effort to assist either Deputy Pitfield during the
      time he was on EP or assisting Deputy Vega until after Deputy Vega pushes EP's hands
      up and places his arm on EP's head or neck.

      a.     There is no video evidence that suggests that EP was somehow trying to lift the
             deputies off of his back.

      b.     Deputy Pitfield acknowledged that he never asked for help or asked for a hobble
             or shackles despite his claim that EP was kicking his feet.

      c.     Indeed, none of the deputies moved to hold EP's legs or tried to hobble his legs
             until Deputy Estrada obtained shackles from his vehicle nearly 3 J4 minutes after
             EP had been handcuffed.

      d.     A reasonable police officer would know that a subject's movements movement
             in these circumstances is likely being done to help the subject to breathe and is
             not active resistance.

      e.     While it would have been safe and reasonable for two deputies to roll EP on his
             side even if he was kicking to place him in a recovery position, it is
             unconscionable that after the arrival of multiple deputies, none of whom are
             assisting in holding EP, that the deputies somehow could not have placed EP in a
             recovery position when the known consequence of their failure to do so may
             cause the death of EP.

62.   Additionally, while Deputy Vega was on EP's back, Deputy Vega pushed EP's handcuffed
      arms forward toward his head in a pain compliance hold. This type of hold is very
      painful especially for larger individuals who may lack flexibility. Here, while there is
      testimony that EP may have been "double jointed" there is also evidence of his lack of
      flexibility in that the deputies had to use two sets of handcuffs to handcuff EP's hands
      behind his back.

                                                                                                35
63.      If Deputy Vega used a pain compliance hold in this manner, in these circumstances, his
         use force was excessive, objectively unreasonable, and inconsistent with generally
         accepted police practices. Deputy Mehrtens acknowledged that Vega uses this pain
         compliance technique in his statement to JPSO as follows: "I turn around and I see the
         struggle happening again. Deputy Vega has technique, you know, when somebody starts
         struggling, you have handcuffs on them, you just begin to slightly elevate the arms so
         that you can just maintain control of the upper torso, urn, he begins doing that...."

64.      Moreover, if Deputy Vega placed his arm on EP's neck as stated by Ms. Lou, that use of
         force would be excessive, objectively unreasonable and inconsistent with generally
         accepted police practices. Any use of a choke hold would be the application of deadly
         force and completely unreasonable under the circumstances.

65.      Law enforcement departments are required to comply with the ADA and provide
         reasonable accommodations to persons with known disabilities, which includes autism.
         The factual backdrop of this case implicated a need for reasonable accommodations to
         EP as a result of his autism which included:

         a.      rolling him on his side or sitting him up once restrained;

         b.     Use other officers at the scene to hold EP's legs if he was indeed kicking to allow
                the deputies to place EP in a recovery position;

         c.     checking his airway;

         d.     monitoring his breathing and pulse;

         e.     assigning a specific officer to talk to EP's parents about what works in managing
                his behavior, and then reporting back to group; backing officers up to give him
                some space and reduce stimuli;

         f.     setting up a perimeter to create a larger safe area;

         g.     using the RIPP hobble device; and,

         h.     using the swarm technique to control EP's legs if necessary.

      The Responding Deputies Failed to Intervene and Prevent Deputies Pitfield and Vega's
                                    Excessive Use of Force

66.      It is generally accepted in law enforcement that police officers have a duty to intervene
         to prevent or stop wrongdoing by another officer when it is safe and reasonable to do


                                                                                                 36
         so190 and where the officer has the opportunity to act.

67.      Here, there were five other officers present when Deputy Vega replaced Deputy Pitfield
         and sat on EP's back while EP was handcuffed in a prone position. Any reasonable
         police officer in these circumstances would have known that EP was obese, he was
         handcuffed with his hands behind his back, he was in a prone position, that a police
         officer was applying his body weight to EP's back, that EP was not resisting, and that
         there were more than a sufficient number of officers to move EP into a recovery
         position, yet none of the officer intervened into Deputy Pitfield's and Deputy Vega's
         obvious use of excessive force.

68.      It would have been obvious to any reasonable police officer that EP was in need of
         medical assistance not a jail and that they were there to help him, not to arrest him.
         Yet, none of these officers intervened to prevent the obvious excessive uses of force by
         Deputies Pitfield and Vega. Indeed, regardless of EP's autism, the deputies should have
         immediately intervened and placed EP into the recovery position.

69.      The failure of the deputies to intervene in this obvious use of excessive force is
         inconsistent with generally accepted police practices.

70.      The deputies were trained to use the swarm technique in circumstances where there
         was a need to gain immediate control of a suspect prior to placing in the recovery
         position. Their failure to do so is inconsistent with generally accepted police practices.
         The use of the swarm technique, with immediate placement into the recovery position,
         would also have been a reasonable and feasible accommodation for EP's disability.

                        The JPSO Failed to Reasonably Supervise Deputy Pitfield

71.      Unlike any other profession, police officers hold incredible powers over the people
         whom they serve. Police officers have the legal authority to detain, physical restrain
         and arrest without first seeking approval from a neutral magistrate, or even their own
         supervisors. Dressed in uniforms that more and more resemble those of the military,
         police officers openly carry handguns and most have ready access to batons, shotguns,
         carbine rifles, Tasers, and OC spray. Police officers have awesome powers and are

190 See, e.g., International Association of Chiefs of Police, Law Enforcement Policy Center: Standards of Conduct
(July 2019) at2; Police Executive Research Forum, Guiding Principles on Use of Force (March 2016) at 41; "A police
officer is under a duty to intercede and prevent fellow officers from subjecting a citizen to excessive force, and
may be held liable for his failure to do so if he observes the use of force and has sufficient time to act to prevent."
{Figueroa v. Mazza, 825 F.3d 89 (2d Cir. 2016); and California Government Code §7286, An officer shall intercede
when present and observing another officer using force that is clearly beyond that which is necessary, as
determined by an objectively reasonable officer under the circumstances, taking into account the possibility that
other officers may have additional information regarding the threat posed by a subject. Intercede includes,
physically stopping the excessive force (when safe and reasonable to do so) and recording the excessive force, if
equipped with a body worn camera (2021).



                                                                                                                     37
         permitted to use reasonable force to take a suspect into custody, the fact that a police
         officer can handcuff and take someone to jail, depriving citizens of their most basic civil
         liberties, demands that police agencies create policies to control their officers' actions,
         train officers to ensure they can comply with department policies, and supervise officers
         to guide their decision making and to hold officers accountable for their misconduct.

72.      Deputy Pitfield was working a paid detail. Deputy Chief Wingrove said regular officers
         report their activities, tell dispatch where they are and what they are doing, and comply
         with the chain of command. Deputy Chief Wingrove said these basic components of
         supervision do not apply to deputies who are working paid details.191 The JPSO
         acknowledges that it does not provide any supervision for paid details like it does for
         patrol officers.192 Deputies who work the off-duty assignment at the Westgate shopping
         center are paid by the off-duty employer and provided a cell phone so they can be
         contacted directly by the businesses. Deputies who work private detail are employed by
         the private employer to perform security on their premises during their scheduled
         hours. Although it is an off-duty assignment, the deputies wear their sheriff's
         department uniform, use their sheriff's department equipment, and are required to
         follow sheriff's department policies, practices, rules and regulations.

73.      Deputy Canatella said he was the administrator for the JPSO Westgate Mall detail and
         paid by Westgate.193 Deputy Canatella said that deputies working that assignment are
         required to have all of their duty gear,194 are responsible to handle all calls for service at
         the mall,195 and are required to follow all department policies.196

         a.       Deputy Canatella said the Sheriff's Office takes $5 per hour from detail officers
                  as compensation.197

         b.       Deputy Canatella said he supervises the detail officers at the mall and will
                  sometimes go there to ensure the officers have all of their equipment.198

74.      Although Deputy Pitfield was working in uniform, operating a marked sheriff's
         department vehicle, and performing police services for the benefit of the mall and the
         sheriff's department, the sheriff's department failed to adequately supervise his
         activities. The failure to supervise a police officer in these circumstances was
         inconsistent with generally accepted police practices.



191 Wingrove deposition at 24.
192 Wingrove deposition at 23.
193 Canatella deposition at 15.
194 Canatella deposition at 20.
195 Canatella deposition at 27.
196 Canatella deposition at 31.
197 Canatella deposition at 18.
198 Canatella deposition at 29.

                                                                                                      38
      No Reasonable Deputy Would Have Sought a Search Warrant in These Circumstances

75.     Sergeant Dowling obtained a search warrant for Daren Parsa's medical records for his
        treatment at East Jefferson General Hospital due to injuries he suffered from EP.199

        a.       In his affidavit in support of the warrant, Sergeant Dowling states that the
                 investigation is related to the undetermined death of EP.

        b.       Sergeant Dowling does not provide any evidence of a specific crime that he is
                 investigating or how the medical records of Mr. Parsa would somehow assist in
                 his investigation. Sergeant Dowling did not provide the magistrate with probable
                 cause to believe that Mr. Parsa's medical records would constitute evidence of a
                 crime, particularly when the suspect of the crime was deceased and there is no
                 evidence that Mr. Parsa was making a criminal complaint or considered himself a
                 victim of a crime.

76.     Sergeant Dowling also obtained a search warrant for EP's school records, any video of
        EP having outbursts or violent behavior at school, a complete list of teachers and staff
        who may have monitored EP, and access to all equipment, restraints or similar devices
        use in the care or monitoring of EP.200

        a.       Sergeant Dowling's affidavit in support of the warrant fails to provide probable
                 cause to believe that these items would assist the sheriff's department in its
                 investigation of EP's death.

         b.      Instead, as stated in the warrant, Sergeant Dowling was seeking information
                 relative to EP's physical and mental health while he was at school.

77.      Lieutenant Meunier said the JPSO obtained a search warrant for EP's medical and school
         records.201

        a.       Lieutenant Meunier said the warrants were consistent with the way the sheriff
                 requires warrants to be used.202

         b.      Lieutenant Meunier said the purpose of a search warrant is to obtain evidence to
                 prove a crime203 and it would be improper to seek a warrant for a civil matter or
                 to protect an officer from civil liability.204



199 Exhibit 56.
2“ Exhibit 57.
201 Meunier deposition at 15.
202 Meunier deposition at 17.
203 Meunier deposition at 19.
204 Meunier deposition at 29-30.

                                                                                                    39
         c.       Lieutenant Meunier said the detectives were looking at whether a deputy
                  committed a crime/05 but said there was no particular reason to believe a crime
                  had been committed against EP.205
                                                 206

         d.       Lieutenant Meunier said he believed EP's grades were potentially relevant to the
                  investigation.207

78.      Sergeant Dowling said he was off-duty at the time of the incident and he was called in to
         conduct the investigation along with Detectives Falcon and Bradley.208

         a.       Sergeant Dowling said the investigation focused on whether the deputies had
                  committed a crime.209

         b.       Sergeant Dowling said the potential crime they were investigating was
                  unnecessary force.210

         c.       Sergeant Dowling said there was no probable cause to believe a crime had been
                  committed by any officer.211

         d.       Sergeant Dowling said they obtained a search warrant to corroborate the
                  parents' statements.212

         e.       Sergeant Dowling said EP's middle school records showed "victimology."213

79.      A search warrant is a warrant signed by a judge authorizing a police officer to conduct a
         search on a certain place or person for criminal evidence. The purpose of the warrant is
         to protect a person's 4th Amendment right of reasonable expectation of privacy from
         unlawful government searches and seizures. Police officers are trained that to obtain a
         warrant they must be able to articulate probable cause that evidence of a crime will be
         located.214



205 Meumier deposition at 43.
205 Meumier deposition at 45.
207 Meumier deposition at 58.
208 Dowling deposition at 63.
209 Dowling deposition at 66.
210 Dowling deposition at 74.
211 Dowling deposition at 77.
212 Dowling deposition at 80.
213 Dowling deposition at 81.
214 Louisiana CCRP, Art. 162A, "A search warrant may issue only upon probable cause established to the
satisfaction of the judge, by the affidavit of a credible person, reciting facts establishing the cause for issuance of
the warrant." And, CCRP, Art. 161 A, "a judge may issue a warrant authorizing the search for and seizure of
anything within the territorial jurisdiction of the court which: (3) May constitute evidence tending to prove the
commission of an offense."

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80.      Here, a reasonable police officer would not have believed that probable cause existed to
         obtain a search warrant for either Mr. Parsa's medical records or for EP's school records.
         Indeed, Sergeant Dowling admitted that he did not possess any information that a crime
         had been committed and he stated he was investigating whether the deputies had
         committed a crime, not whether EP had committed a crime.

81.      A reasonable police officer would have known they lacked probable cause to obtain
         these warrants and seeking the warrants to investigate EP rather than the deputies'
         actions that caused EP's death was inconsistent with generally accepted police
         practices.

  The JPSO Complaint Acceptance, Investigation, and Accountability Policies and Procedures
  are Inconsistent with Generally Accepted Police Practices and Evidence a Pattern, Practice,
    and Custom of Ignoring Serious Misconduct that Would Lead an Unprincipled Officer to
         Believe They Could Violate the Constitutional Rights of Others with Impunity

82.      Captain Blackwell is in-charge of the JPSO's Internal Affairs Unit and was designated as
         the sheriff's department person most knowledgeable regarding Internal Affairs.

         a.       The JPSO has a policy, practice and custom of not accepting community member
                  complaints and not investigating allegations of serious misconduct.

                  1.        Captain Blackwell said Internal Affairs does not investigate all officer
                            involved shootings because they lack the staffing.215 Captain Blackwell
                            acknowledged that the JPSO had 19 in custody deaths that occurred
                            between 2017 - 2020 and Internal Affairs did not conduct investigations
                            into any of those cases.216 Captain Blackwell acknowledged that the
                            Sheriff could request him to investigate any in-custody death or assign
                            more investigators to IA.217

                  2.        Captain Blackwell said in a recent officer involved shooting where JPSO
                            deputies were indicted there was no Internal Affairs investigation as it
                            was a criminal matter.218 Captain Blackwell said nothing prevented an
                            Internal Affairs investigation from being conducted and he does not know
                            why a parallel investigation was not conducted.219




215 Blackwell deposition at 2S-26.
215 Blackwell deposition at 27.
217 Blackwell deposition at 19, 26.
218 Blackwell deposition at 29.
219 Blackwell deposition at 30.

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                           a.       Captain Blackwell said he did receive a complaint from the
                                    victim's young son written in crayon, but no investigation was
                                    conducted because it was not a valid complaint.220

                           b.       Captain Blackwell said the sheriff's department does not accept
                                    third party complaints from anyone - even an attorney.221

                           c.       Captain Blackwell said the two deputies who were charged
                                    criminally were fired.222

                  3.       Captain Blackwell said the department does not generally accept
                           anonymous complaints.223

                  4.       Captain Blackwell said Internal Affairs would only look at a use of force if
                           there was a complaint. Internal Affairs does not investigate all deaths in
                           custody and while he is aware that other agencies do investigate in
                           custody deaths, he does not know why the JPSO does not.224

                  5.       Captain Blackwell said the Homicide Unit would investigate deputies who
                           used deadly force, but he acknowledged that Homicide is only looking to
                           determine of the deputy committed a crime while Internal Affairs
                           evaluates whether the deputy followed department policy, training,
                           customs and practices.225

                  6.       Professional law enforcement agencies are aware that they must
                           investigate all misconduct complaints, regardless of the source. CALEA226
                           accreditation standards require a written directive that "all complaints
                           against the agency or its employees be investigated, including
                           anonymous complaints." A standard practice of accepting any and all
                           complaints is the best way to ensure that any method of complaint is
                           accepted. Complaints should be accepted in all forms including in-
                           person, in writing, by e-mail and web pages, or by telephone.227


220 Blackwell deposition at 34.
221 Blackwell deposition at 35.
222 Blackwell deposition at 37.
223 Blackwell deposition at 39.
224 Blackwell deposition at 18-19.
225 Blackwell deposition at 23-24.
226 See, CALEA.org The Commission on Accreditation for Law Enforcement Agencies (CALEA).
227 See e.g., "Building Trust Between the Police and the Citizens They Serve," U.S. DOJ, (Oct. 2009), "Managing
Accountability Systems for Police Conduct: Internal Affairs and External Oversight," Jeffrey J. Noble and Geoffrey P.
Alpert (2009),"Law Enforcement Administrative Investigations," Lou Reiter (3rd Ed, 2006), "Standards and
Guidelines for Internal Affairs: Recommendations from a Community of Practice," US DOJ (Nov. 2012), Best
Practices Guide - Internal Affairs: A Strategy for Smaller Departments," Beau Thurnauer, IACP, IACP Model Policy -
"Investigation of Allegations of Employee Misconduct," (April 2019).

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                  7.       The failure to accept complaints or to investigate serious uses of force
                           sends a strong message to unprincipled deputies that they may violate
                           the constitutional rights of others with impunity. The failure to
                           investigate allegations of wrongdoing can serve to undermine the
                           complainant's confidence in the department's willingness to examine the
                           conduct of its own employees. It can prevent a department from
                           becoming fully aware of deviant behaviors that will in all likelihood evolve
                           into a pattern of misconduct that will have a foreseeable risk of harm on
                           constituents and threaten the public trust and confidence. When a
                           municipality and its policy makers consciously and deliberately adopt
                           such restrictive and antiquated practices, they create a tremendous
                           disincentive to come forward with legitimate claims and, thus, keeps
                           hidden serious police misconduct that should be investigated. Not only
                           does the behavior itself become concealed, those responsible for the
                           behavior are emboldened.

         b.       Captain Blackwell said he does not know what a use of force report is and that
                  deputies put all of the information regarding their uses of force in their incident
                  reports.228

                  1.       Professional law enforcement agencies require their officers to complete
                           use of force reports to review and track uses of force and how often any
                           particular officer may be using force.

                  2.       The purpose of reviewing and tracking these incidents is not just to
                           identify possible misconduct by deputies, but also to review the
                           department's polices and training. For example, an officer may be
                           improperly using force due to a lack, or misunderstanding, of training and
                           when these issues are addressed, they may prevent future similar issues
                           by that office or by another officer.

         c.       Captain Blackwell said he has never heard of the "code of silence."229

                  1.       The concept of solidarity refers to the unique sense of identity,
                           belonging, and cohesion that one develops as part of a group of
                           colleagues who share common roles, interests, problems or concerns. In
                           some organizations, solidarity results in loyalty to one's colleagues
                           instead of loyalty to an organization, community, or set of principles.230
                           In those instances individuals will sometimes engage in a "code of


228 Blackwell deposition at 17.
229 Blackwell deposition at 39.
230 'The Encyclopedia of Police Science," Jack R. Greene, Ed. (3rd ed. 2007) at 994-1000.

                                                                                                    43
                           silence" where they do not report the misdeeds of others within their
                           group. In policing, a code of silence results in officers not reporting
                           misconduct by other officers; falsely claiming not to have seen the events
                           in question; actively lying to investigators; or colluding with other officers
                           to create a cover story.231

                  2.       In an organization where the code of silence is fostered, the organization
                           creates an atmosphere that officers may engage in misconduct knowing
                           that their fellow officers and supervisors will not report their misconduct,
                           or if they are questioned, they will deny knowledge of the misconduct.
                           While all professions have employees who may be reluctant for a variety
                           of reasons to report the misconduct of others employees,232 law
                           enforcement officers are entrusted with incredible powers and have an
                           affirmative duty to prevent, intervene and report misconduct, particularly
                           criminal misconduct, when it comes to their attention. Indeed, the
                           Christopher Commission report stated, "Police officers are given special
                           powers, unique in our society, to use force, even deadly force, in the
                           furtherance of their duties. Along with that power, however, must come
                           the responsibility of loyalty first to the public the officers serve. That
                           requires that the code of silence not be used as a shield to hide
                           misconduct."233

                  3.       The code of silence may exist at some level in all law enforcement
                           agencies and when it does manifest it contributes immensely to incidents
                           of abuse of citizens by law enforcement. Officers who are aware of
                           misconduct by other officers often do not come forward for fear of
                           reprisal by fellow officers or the department. Those who report
                           misconduct may be ostracized and harassed, become targets of
                           complaints and even physical threats, and are made to fear that they will
                           be left alone on the streets in a time of crisis.234 The Mollen Commission
                           wrote, "The pervasiveness of the code of silence is bolstered by the grave
                           consequences for violating it: Officers who report misconduct are
                           ostracized and harassed; become targets of complaints and even physical
                           threats; and are made to fear that they will be left alone on the streets in



231 "The Christopher Commission Report," (1991) at 168, "The code of silence consists of one simple rule: an officer
does not provide adverse information against a fellow officer."
232 "Above the Law: Police and the Excessive Use of Force," by Jerome H. Skolnick and James J. Fyfe (1993) at 110.
233 "The Christopher Commission Report" (1991) at 170-1.
234 "The Encyclopedia of Police Science," Jack R. Greene, Ed. (3rd ed. 2007) at 219. See also, "Above the Law: Police
and the Excessive Use of Force," by Jerome H. Skolnick and James J. Fyfe (1993) at 110.

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                         a time of crisis."235 The report continued, "Honest officers who know or
                         suspect corruption among their colleagues, therefore, face an
                         exasperating dilemma. They perceive that they must either turn a blind
                         eye to the corruption they deplore, or risk the dreadful consequences of
                         reporting it."236


                 4.      The Mollen Commission found that "despite years of open and frequent
                         corruption ... virtually none of their colleagues or supervisors reported
                         this corruption to Internal Affairs."237

                 5.       Law enforcement officers who know that their fellow officers and
                         supervisors will engage in a code of silence may develop the belief that
                         they may engage in misconduct, even criminal misconduct, with impunity
                         as they know they will not be reported and if they are investigated, they
                         know that other officers will not provide evidence adverse to their
                         interests. The code of silence is even more insidious when police officers
                         victimize individuals, who because of their criminal history; level of
                         intoxication; involvement in prostitution or the commercial sex industry;
                          minors; immigrants and undocumented persons; or those with mental
                         illnesses or developmental disabilities, are more vulnerable due to a
                          perceived lack of credibility.238 Moreover, other police officers are often
                         the only witnesses to a police abuse of a citizen's rights and without a
                         witness officer coming forward it is very difficult to prove misconduct
                         even by a preponderance of evidence.

                 6.       It is shocking that a law enforcement manager and a captain who is in-
                         charge of a Sheriff's office's Internal Affairs Unit would not know about
                         the code of silence. This lack of knowledge would prevent investigators
                         from recognizing signs of the code of silence such as: Law enforcement
                         officers who are comfortable engaging in misconduct in the presence of
                         other officers without fear of being compromised or complained about;
                         Through repeated acts of misconduct that go unreported or without any
                         remedial action whatsoever; Through the lack of any complaints initiated
                         or otherwise investigated by supervisors; Through acts of retaliation
                         within the ranks when someone defies the code; When officers are
                          behaving contrary to reasonable practices at the "critical moment" when


235 "Mollen Commission Report" (1994) at 53.
236 "Mollen Commission Report" (1994) at 57.
237 "Mollen Commission Report" (1994) at 57.
238 "Addressing Sexual Offenses and Misconduct by Law Enforcement: Executive Guide," International Association
of Chiefs of Police (June 2011).

                                                                                                             45
                            the act of misconduct transpires; When the situation should have alerted
                            a reasonable officer and focused their attention on the wrong that was
                            taking place, yet when asked, nobody seen or heard a thing; When the
                            incident was so obvious that officers would have had to shut their eyes
                            and ears not to have been aware of the wrong that was taking place;
                            When asked, officers avoid, rather than deny, their response is simply "I
                            don't recall;" When the development of cliques begin to form within the
                            organization; and When officers specifically request not to work with
                            specific officers or units.


         d.       Captain Blackwell said there was no Internal Affairs investigation in the EP
                  matter.239

         e.       Captain Blackwell said if a deputy resigns during the course of an internal
                  investigation, the investigation will be stopped.240

                  1.        While an organization cannot take any administrative action against an
                            individual who is no longer in their employment, it is improper to stop an
                            investigation simply because the employee resigned.

                  2.        First, failing to address allegations of misconduct does not provide the
                            community with the assurance that the organization is taking their
                            complaints seriously.

                  3.        Second, the investigation of a complaint may reveal that active officers
                            were involved and at those current employees engaged in misconduct.

                  4.        Third, all internal investigations provide the opportunity for the
                            organization to review their policies and procedures to determine if the
                            agency has made all reasonable efforts to prevent and identify the type
                            of misconduct is being alleged.

                  5.        Finally, and perhaps most importantly, there are a group of law
                            enforcement officers across the country who have left one agency under
                            a cloud of suspicion only to be employed by another agency unaware of
                            the allegations. These officers sever their employment relationship once
                            the complaint comes to light and no investigation is conducted, there is
                            no record in the officer's personnel file.

         f.       Captain Blackwell said the JPSO does not maintain an early warning system, but


239 Blackwell deposition at 56.
240 Blackwell deposition at 84.

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                  he would take action if the deputy's name came across his desk three times
                  within one year. He said there is no protocol and he would only take action if he
                  recalled the prior incidents.241

83.     At the relevant times, Joseph Lopinto was the duly elected Sheriff of Jefferson Parish
        and ultimately responsible for the overall operation of the JPSO which includes:

         •         Set clear goals and objectives to ensure the alignment and development of
                  systems to support the organization's mission, vision and values.
         •         Build a unit culture that supports the attainment of desired outcomes.
         •         Secure resources needed for successful implementation of the agency's mission,
                  vision and values, and ensure that those resources are managed effectively and
                  efficiently.
         •         Manage relations with other departments, agencies, organizations, the
                  community and other stakeholders.
         •         Develop a competent and diverse staff to ensure that the agency's mission,
                  vision and values are achieved.
         •         Coordinate and manage the development and expenditure of the budget.
         •         Recognize and honor staff for outstanding achievements and goal attainment.
         •         Ensure that systems are in place to receive, investigate and report on allegations
                  of employee misconduct.
         •         Lead, mentor and develop subordinates by being fully informed about the
                  activities of the department and deputies.
         •        Develop and maintain policies, practice, training, supervision and accountability
                  which are consistent and comply with constitutional and statutory requirements
                  regarding law enforcement encounters with the public, including those with
                  disabilities.

84.      Sheriff Lopinto acknowledged that in order to properly run a law enforcement
         department, he must: 1) develop proper policies regarding police encounters with
         citizens and the constitutional limitations of their police powers to arrest, use force and
         restrain citizens; 2) ensure that its officers understand these policies and the
         constitutional limitations on their authority to arrest, use force and restrain citizens; 3)
         properly supervise its officers during the course of law enforcement activities and
         encounters with citizens; and 4) hold police officers accountable for complying with
         these policies and protecting the constitutional rights of citizens.242

85.      A law enforcement department is required to have policies and training which address
         situations that deputies will face on a recurring basis to provide deputies with guidance
         and limit their discretion. Every day, or almost every day, a deputy will be faced with
         the decision of whether or not to arrest, restrain and/or use force. Further, deputies


241 Blackwell deposition at 96-100.
242 Lopinto deposition at 35-39.

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         are increasingly having to deal with persons suffering from intellectual disabilities or
         mental disorders. Sheriff Lopinto acknowledged that dealing with persons suffering
         from intellectual disabilities was becoming an issue for law enforcement well before
         2014.243 Despite this fact, the JPSO does not have any policy or provide training to
         deputies on dealing with persons with intellectual disabilities even though the training
         academy had completed training materials for dealing with autistic persons in 2018.244
         This illustrates that Sheriff Lopinto and the JPSO have actual knowledge of the need for
         training for dealing with people suffering from intellectual disabilities but has failed to
         provide this training to its deputies.

86.      Further, a law enforcement department is required to have policies and training which
         address high-risk activities which pose an obvious danger of potential harm without
         adequate guidance and training. For example, while most deputies may never be called
         upon to discharge their weapon in the line of duty, most law enforcement departments,
         including the JPSO, have written deadly force policies and extensive firearm training due
         to the catastrophic consequences of improper use of deadly force. Based on decades of
         information, literature and experience, the restraint of a handcuffed, obese person in
         the prone position poses a serious risk of serious injury or death and akin to deadly
         force. Therefore, proper policy and training on this form of restraint must be provided
         and deputies must be trained, supervised and investigated regarding applications of this
         dangerous restraint.

87.      The policies maintained by the Sheriff Lopinto and the JPSO with respect to Use of
         Force/Restraint and Internal Affairs are outdated, unreasonable and inadequate and fail
         to conform to generally accepted law enforcement standards and practices as set forth
         herein.

88.      At deposition, Sheriff Lopinto provided the following testimony relevant to my opinions:

         a.       Sheriff Lopinto said there was no Internal Affairs investigation on the Robinson
                  or Parsa cases245 or any of the 19 in custody deaths listed in discovery.246

         b.       Sheriff Lopinto said Internal Affairs handles speeding and courtesy complaints
                  and lacks the skills to investigate an in-custody death,247 rather those cases are
                  investigated by Homicide.248

         c.      Sheriff Lopinto said if there is no obvious policy violation on the surface, the case



243 Lopinto deposition at 27-28.
244 Lopinto deposition at 28-29.
245 Lopinto deposition at 48.
245 Lopinto deposition at 50.
247 Lopinto deposition at 51.
248 Lopinto deposition at 52.

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                  will not be referred to Internal Affairs.249

         d.       Sheriff Lopinto said he wanted Homicide to investigate in-custody deaths
                  because they are more experienced,250 but acknowledged that Investigator
                  Dowling investigated the EP case and that Dowling was in the gun unit and had
                  no Homicide experience.251

         e.       Sheriff Lopinto said he is aware that individuals in prone positions can lead to
                  bad outcomes and there are "tons" of articles on positional asphyxia.252 Sheriff
                  Lopinto said a deputy should place a person on their side in a recovery position
                  after the "fight."253 Sheriff Lopinto said he is also aware the obesity is a risk
                  factor for positional asphyxia.254 Further, the JPSO has been involved in litigation
                  involving bad results arising from restraint in the prone position dating back to
                  1993.255

         f.       Sheriff Lopinto said there is no formal policy that requires Internal Affairs or
                  Training to review an in-custody death.256

         g.       Sheriff Lopinto said his sergeants review all police reports, so he does not feel
                  there is a need for use of force reports.257 Sheriff Lopinto said he is aware that
                  other agencies require use of force reports for tracking.258

         h.       Sheriff Lopinto does not routinely review the results of homicide investigations
                  of in-custody deaths.259 Sheriff Lopinto did not review the homicide report in
                  the Keevan Robinson case which was determined by the medical examiner to be
                  a homicide and involved a death after the use of a prone restraint260 or this
                  case.261 Sheriff Lopinto completely abdicated his responsibility to properly
                  review and evaluate in-custody deaths or to properly delegate this responsibility,
                  to determine if deputies complied with their policies and training.

         i.       In this case, Sheriff Lopinto did not review the homicide report completed by Sgt.



249 Lopinto deposition at 53.
250 Lopinto deposition at 108.
251 Lopinto deposition at 56.
252 Lopinto deposition at 64-65.
253 Lopinto deposition at 72-75.
254 Lopinto deposition at 77.
255 Lopinto deposition at 43-48, Exs. 144-147.
256 Lopinto deposition at 110.
257 Lopinto deposition at 113.
258 Lopinto deposition at 115.
259 Lopinto deposition at 6.
260 Lopinto deposition at 47-48.
261 Lopinto deposition at 58.

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                 Dowling in this case.262 He did not review any of the statements obtained during
                 the homicide investigation from the deputies, Plaintiffs or witnesses.263 He did
                 not review the autopsy report of EP.264 As such, Sheriff Lopinto did not know
                 that the deputies noted in their statements that there were many periods of
                 time that EP was calm, that the Plaintiffs complained that EP was choked, that
                 Deputy Vega acknowledged using some sort of hold around EP's chin during the
                 restraint, that JPSO deputies took pictures of Daren Parsa's injuries (on two
                 occasions) while paramedics were performing CPR on his son and that Plaintiffs
                 were told that they could not leave the scene to go to the hospital with their son
                 because the parking lot was a crime scene.

        j.       After reviewing the video of the EP incident, Sheriff Lopinto said he does not
                 have a position on whether or not it was safe to place EP in a recovery
                 position.265

        k.       Sheriff Lopinto admitted after watching the tape that there were several
                 occasions during the prone restraint where the deputies could have placed EP in
                 the recovery position including: 1) after Detective Vaught arrived and assisted
                 Pitfield in cuffing EP behind his back;266 2) after other deputies arrived and there
                 were five officers on the scene during video between 14:33 -15:00;2673) on the
                 video tape from 15:00 -15:28, Sheriff Lopinto stated that it was not physically
                 impossible to place EP into the recovery position and noted that the issue was
                 "whether or not it was reasonable" to place him in the recovery position;268 4)
                 on the video tape from 16:00 -16:29, Sheriff Lopinto acknowledged that there
                 was no resistance which would preclude placing EP in the recovery position269
                 and that "there is nothing other than their [deputies] observances that precludes
                 them from putting him in the recovery position;"270 and 5) after review of the
                 video tape, Sheriff Lopinto provided the following response with respect
                 whether EP should have been placed in the recovery position: "And, again as you
                 are pausing it second by second by second, it makes it look like there is
                 numerous opportunities, but if you let it run out from the changes of, you know,
                 his reactions 30 seconds apart, 30 seconds apart, you know, I'm going to tell you
                 no at this moment, yes at this moment. No at this moment, yes at this moment,
                 right. And so, you know, you have the ability to pause every second and ask me
                 that same question, and I'm going to go back to the one where he is resisting and


262 Lopinto deposition at 58.
263 Lopinto deposition at 137-138, 176, 247-248.
264 Lopinto deposition at 229.
265 Lopinto deposition at 221.
266 Lopinto deposition at 222.
267 Lopinto deposition at 226.
268 Lopinto deposition at 211-215.
269 Lopinto deposition at 217-218.
270 Lopinto deposition at 225.

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                 say this is why they weren't."271 Significantly, Sheriff Lopinto could not state
                 whether any movements by EP while restrained were efforts to resist, efforts to
                 breathe, or were caused by a lack of oxygen caused by the effects of the prone
                 restraint on an obese suspect.272

         l.       With respect to his management style with respect to investigating incidents to
                  determine if changes need to be made in policies or training or to discipline
                  deputies, Sheriff Lopinto stated: "I don't allow a specific lawsuit when I'm looking
                  at where are my deputies' hearts compared to where are my deputies' minds
                  and what made those changes happen, right. In this situation, I think their
                  hearts are in the right place, and I don't second guess, you know, decisions that
                  are made and split-second decisions and those type of things in order to try to -
                  oh, this should not have happened."273 While Sheriff Lopinto testified that he
                  does not second guess his deputies, it is his job to properly investigate his
                  deputies and "second-guess" his deputies if they fail to comply with their policies
                  and training.

         m.       After reviewing the tape, Sheriff Lopinto was asked whether or when EP should
                  have been placed in the recovery position. In response, Sheriff Lopinto stated he
                  could justify the position that EP was able to be placed in the recovery position
                  and also that the deputies could not place EP in the recovery position.274
                  Further, Sheriff Lopinto declined to provide his personal opinion as to whether
                  the deputies should have placed EP in the recovery position noting: "I don't have
                  a position. They were there on that particular day. They made a judgment call
                  from the circumstances that were happening around them of when this should
                  have happened or should not have happened."275 Sheriff Lopinto's routine
                  practice of failing to review the homicide reports and evidence contained in
                  investigations of in-custody deaths, and failing to take a position on the deputies'
                  actions at deposition, represents a complete abdication of his responsibilities
                  and duties as Sheriff of the JPSO to properly supervise and investigate potential
                  misconduct and to ensure policies, practices and training are consistent with
                  constitutional and legal duties of deputies with respect to the use of force.

         n.      Sheriff Lopinto was unaware that public entities with more than 50 employees
                 are required to have a designated ADA Coordinator.276 He then testified that he
                 is "probably" the federally required ADA Coordinator for the JPSO.277 Sheriff
                 Lopinto does not know if his deputies in the field are trained on the Americans


271 Lopinto deposition at 235.
272 Lopinto deposition at 235-237.
273 Lopinto deposition at 258.
274 Lopinto deposition at 217-218.
275 Lopinto deposition at 221.
276 Lopinto deposition at 159-160.
277 Lopinto deposition at 159-160.

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                 with Disabilities Act.278 The JPSO has no policies on compliance with the ADA.279
                 The JPSO does not have a policy on dealing with persons suffering from
                 intellectual disabilities or mental disorders.280 Sheriff Lopinto testified that he
                 "doesn't believe that you should have a separate policy" for handling persons
                 suffering from intellectual disabilities.281

89.     Sheriff Lopinto and JPSO has a policy of destroying deputy disciplinary and misconduct
        records after three years, but keeping positive information about deputies indefinitely.
        This makes it impossible for JPSO to implement an early warning system even if it
        wanted to, and creates a skewed perspective of officer quality.

90.     Sheriff Lopinto and the JPSO acknowledges that it has a pattern, practice and custom of
        not accepting complaints of deputy misconduct even in cases where the deputy has
        used excessive force. In fact, the JPSO refused to accept a complaint from the attorney
        who represented a victim who killed by shooting by two deputies were later charged
        with criminal conduct. After the refusal, the attorney obtained a written complaint
        completed by the victim's minor child in crayon and submitted it to the JPSO. The JPSO
        again refused the complaint demonstrating that even in the most egregious cases they
        would turn a blind eye to investigating deputy misconduct.

91.     Sheriff Lopinto and the JPSO failed to have a policy, practice of custom of reviewing
        critical incidents and in-custody deaths which fails to comply with nationally acceptable
        practices. A proper review of critical incidents and in-custody deaths would require an
        evaluation of the current policies and training provided to officers to determine whether
        policies and training need updating. As a result of the failure to investigate critical
        incidents and in-custody deaths, the JPSO deliberately fails to evaluate itself and make
        necessary changes to its policies and training. As a result, numerous instances of death
        while in custody have occurred at JPSO allows deputy actions which cause to death to
        continue without any evaluation or change.

92.     In discovery, Sheriff Lopinto and the JPSO has identified 19 in custody deaths that have
        occurred since 2017- 2020 in response to written discovery. The JPSO acknowledged
        that it has a pattern, practice and custom and failing to conduct administrative
        investigations on serious uses of force or for in-custody deaths. With respect to the 19
        in-custody deaths that occurred between 2017 - 2020, none were investigated by IA for
        officer compliance with policy and training. Instead, only criminal investigations are
        performed and provided to the DA's office to determine whether there is probable
        cause to believe that an officer committed a crime. Therefore, the JPSO fails to properly
        perform IA investigations to identify whether deputies have complied with policy and


278 Lopinto deposition at 159-160.
279 Voltolina deposition at 29.
280 Lopinto deposition at 116-118.
281 Lopinto deposition at 118.

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        training and, therefore, problem officers and deficiencies in policy and training are not
        evaluated, even in cases involving the death of a suspect or victim.

93.     Sheriff Lopinto knew the risks of positional asphyxia, but chose not to investigate the EP
        matter to evaluate the actions of his deputies or determine whether there needed to be
        changes made to policy or training. The systems in place under Sheriff Lopinto result in
        a policy and practice of avoiding investigation of possible deputy misconduct regarding
        use of force and restraint which need to be addressed. Sheriff Lopinto's policies,
        practices and customs are intentionally designed and result in avoiding investigating
        possible deputy misconduct and to avoid identifying issues that may be resolved by
        changes to policy or training to prevent similar future incident. Moreover, the failure to
        have deputies complete use of force reports or to conduct administrative investigations
        on use of force incidents prevents the organization from identifying, tracking, and
        resolving potentially problematic deputies or issues. This is especially problematic in a
        department that routinely destroy IA files after 3 years. It appears that Sheriff Lopinto is
        consciously making it difficult for citizens to have complaints of improper force
        investigated and has created a system to avoid investigating or tracking deputies to
        address deputies who may use excessive force or to make changes to training or policy
        based on the results of investigations.

94.     The patterns, practices, and customs, of Sheriff Lopinto and the JPSO are contrary to
        generally accepted law enforcement practices practice and serve to embolden
        unprincipled deputies who may believe that because the JPSO does not conduct critical
        incident reviews, administrative investigations or hold their deputies accountable for
        serious misconduct involving force including use of force and deadly force, that they
        may violate the constitutional rights of others with impunity. This is best illustrated by
        Sheriff Lopinto agreement to indemnify the officers in the action for any potential
        liability for punitive damages in this case.282 Sheriff Lopinto acknowledged in his
        deposition that punitive damages are normally recoverable only in cases where the
        conduct is criminal.283 Despite this fact, Sheriff Lopinto agreed to indemnify the officers
        against any liability for punitive damages.284

Pursuant to 28 U.S.C. § 1746,1 declare under penalty of perjury that the foregoing is true and




282 Lopinto deposition at 260.
283 Lopinto deposition at 260.
284 Lopinto deposition at 260.

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